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                          EXHIBIT 2
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

                                                     )
                                                     )
                                                     )
                                                     ) 03 MDL 1570 (GBD)
In re Terrorist Attacks on September 11, 2001        ) ECF Case
                                                     )
                                                     )
                                                     )


This document relates to:
Burnett v. Arab Bank, PLC, 03-cv-9849
Federal Insurance Co. v. Al Qaida, 03-cv-6978
O’Neill v. Al Baraka Investment & Devel. Corp., 04-cv-01923
Continental Casualty Co. v. Al Qaeda, 04-cv-05970
Cantor Fitzgerald & Co. v. Akida Bank Private Limited, 04-cv-07065
Euro Brokers Inc. v. Al Baraka Investment & Devel. Corp., 04-cv-07279
World Trade Center Properties LLC v. Al Baraka Investment & Devel. Corp., 04-cv-07280


     DUBAI ISLAMIC BANK’S RESPONSES AND OBJECTIONS TO PLAINTIFFS’
         FIRST SET OF REQUESTS FOR PRODUCTION OF DOCUMENTS


          Pursuant to Federal Rules of Civil Procedure 26 and 34, Defendant Dubai Islamic Bank,

by undersigned counsel, hereby objects and responds to Plaintiffs’ First Set of Requests for

Production of Documents Directed To Dubai Islamic Bank (“Plaintiffs’ requests”) as follows:


                                   GENERAL OBJECTIONS

          Dubai Islamic Bank’s General Objections, as set forth herein, are to be considered

objections and responses to each of the specific requests for production that follow. Dubai

Islamic Bank’s objections and responses shall not waive or prejudice any objections it may later

assert.

          1.     Dubai Islamic Bank objects to Instruction No. 1 to the extent that it purports to

require a duty to produce information that differs from the requirements of Federal Rule of Civil
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Procedure 34(a). Dubai Islamic Bank does not have a duty to produce documents that after a

good faith search are not found to be within its possession, custody, or control as set forth in

Rule 34.

       2.      Dubai Islamic Bank objects to Instruction Nos. 2-12 to the extent that these

instructions purport to require a duty to produce or supply information that differs from the

requirements of Federal Rules of Civil Procedure 26 and 34 and Local Rule of Civil Procedure

26.3. Dubai Islamic Bank additionally objects to Instruction No. 2 to the extent that it purports

to require a duty to produce information covered by the attorney-client privilege, attorney work

product protection, or any other privileges or protections.

       3.      Dubai Islamic Bank objects to Instruction No. 10 as unduly burdensome to the

extent it purports to require information beyond what is required under Federal Rule of Civil

Procedure 26(b)(5). Subject to this objection, for any requested documents are not subject in

whole or in part to production based on a claim of privilege or any other basis, Dubai Islamic

Bank will provide a log, setting forth (if known) as to each such document (1) the name of the

person who prepared the document; (2) the name of the recipient(s) of the document; (3) the

person(s) carbon copied on the document; (4) the date on which the document was created;

(5) the basis on which Dubai Islamic Bank has withheld, in whole or in part, any document; and

(6) a description of the subject matter of the document.

       4.      Dubai Islamic Bank objects to Instruction No. 13 to the extent that it purports to

require the production of documents created for the period January 1, 1990 to the present on the

grounds that such scope is overly broad, unduly burdensome, and seeks information not relevant

to the claim or defense of any party. Unless otherwise set forth in Dubai Islamic Bank’s Specific




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Objections and Responses below, Dubai Islamic Bank will produce non-privileged documents

for the time period beginning January 1, 1992.

       5.      Dubai Islamic Bank objects to the definition of “document” or “documents” to the

extent that such definition in any way differs from the definition set forth in Federal Rule of

Civil Procedure 34 and Local Rule of Civil Procedure 26.3.

       6.      Dubai Islamic Bank objects to the definitions of “Defendant,” “You,” “Your,” and

“DIB” as it differs from the definition set forth in Local Rule of Civil Procedure 26.3.

       7.      Dubai Islamic Bank objects to the definition of “United Arab Emirates” or

“U.A.E.” to the extent that it purports to impute to Dubai Islamic Bank any duty to ascertain the

identity, existence, or relationships of or among any of the persons or entities listed.

       8.      Dubai Islamic Bank objects to the definition of “DIB Personnel” to the extent that

it purports to include persons or entities outside the scope of Dubai Islamic Bank’s possession,

custody or control.

       9.      Dubai Islamic Bank objects to the definition of “jihad” as vague, ambiguous,

overly broad, unduly burdensome, and seeking information not relevant to a claim or defense of

any party.

       10.     Dubai Islamic Bank objects to Plaintiffs’ requests to the extent that any request

purports to require a duty to produce information protected by the attorney-client privilege,

attorney work product protection, or any other privilege or protection.             Any inadvertent

production or disclosure of such privileged or protected documents or information shall not be

construed as a waiver of any applicable privilege or protection.

       11.     Dubai Islamic Bank objects to Plaintiffs’ requests to the extent that they seek

information protected from disclosure under any law, rule, regulation, restriction, or order.



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Dubai Islamic Bank in good faith will comply with any requirement that it obtain permission to

disclose any such protected document. Dubai Islamic Bank will refrain from producing any

document protected from disclosure until the necessary authorizations to make such a disclosure.

       12.     Dubai Islamic Bank expressly reserves the right to object to additional discovery

into the subject matter of these requests for production. By producing information responsive to

these requests for production, Dubai Islamic Bank does not concede that the information

requested or provided is discoverable, relevant, or material to the subject matter of this action;

authentic; or admissible at any trial thereof.

       13.     Dubai Islamic Bank’s General Objections and Specific Objections and Responses

are based upon the information presently known to Dubai Islamic Bank. Dubai Islamic Bank is

willing to meet and confer with Plaintiffs regarding its responses and objections to any of these

requests. Dubai Islamic Bank reserves the right to rely on fact, documents, or other evidence,

which may subsequently develop or come to its attention, and to assert additional objections or

supplemental responses should it discover that there is information or grounds for objections.

Dubai Islamic Bank also reserves the right to amend these responses.




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                        SPECIFIC OBJECTIONS AND RESPONSES

REQUEST NO. 1

       Please provide all documents relating to all DIB accounts established or held in the name

of, on behalf of and/or for the benefit of Osama bin Laden, any DIB account for any entity in

which bin Laden held any beneficial interest, and/or any DIB account over which bin Laden had

signatory authority or had any actual or potential beneficial interest. Such documents shall

include, but are not limited to, correspondence, letters, memoranda, notes, and/or e-mails, that

refer to, relate to, or reflect communications between or among bin Laden and/or his

representative(s) and DIB, documents detailing the establishment of and/or closing of the

account(s), Know-Your-Customer and/or other customer due diligence reports, suspicious

activity and/or transaction reports, account numbers, monthly account statements, annual account

statements, account notices, deposits, withdrawals, deposit slips, check stubs, cleared or canceled

checks, cashier checks, money orders, debit/credit memos, financial ledgers, journals, investment

records, real estate records, records of assets, loan records, audit work papers, audit reports, or

wire transfers, and any documentation showing the source(s) and/or destination(s) of any funds

deposited into or withdrawn from those accounts.


RESPONSE TO REQUEST NO. 1

       Dubai Islamic Bank objects to this request as overly broad, unduly burdensome, and

seeking information not relevant to a claim or defense of any party on the grounds that it is not

reasonably limited in temporal scope. Dubai Islamic Bank objects to this request as vague,

ambiguous, unduly burdensome, and uncertain in its use of the terms “on behalf of and/or for the

benefit of Osama bin Laden,” “any entity in which bin Laden held any beneficial interest,” “any

DIB account over which bin Laden had any actual or potential beneficial interest,” and “his


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representative(s).” Dubai Islamic Bank objects to this request as unduly burdensome in its

request related to “signatory authority.” Dubai Islamic Bank also objects to this request as vague

and ambiguous in its use of the terms “account notices,” “financial ledgers,” “journals,”

“deposits,” “withdrawals,” and “investment records.” Dubai Islamic Bank further objects to this

request as vague and ambiguous in its use of the term “debit/credit memos.” Dubai Islamic Bank

understands that term to mean debit and credit entries on an account statement. Dubai Islamic

Bank also objects to this request as overly broad and unduly burdensome in seeking all “deposit

slips,” “check stubs,” “cleared or canceled checks,” “cashier checks,” and “money orders.”

Dubai Islamic Bank objects to “any documentation showing the source(s) and/or destination(s)

of any funds deposited into or withdrawn from those accounts” as vague, ambiguous, overly

broad, unduly burdensome, and seeking information not relevant to a claim or defense of any

party.

         Subject to and without waiving the foregoing Specific Objections and General Objections,

Dubai Islamic Bank will search in the accountholder field in its electronic account record

keeping system using the search term “Osama bin Laden” to determine whether any account has

existed in that name and, if so, Dubai Islamic Bank will produce for that account non-privileged1

account opening and closing documents, Know-Your-Customer or other customer due diligence

reports, suspicious activity or transaction reports, account numbers, monthly account statements,

annual account statements, account notices, real estate records, records of assets, loan records,

audit work papers, audit reports, and wire transfers, if any exist, from January 1, 1992 to

September 11, 2001, provided that the search for such documents does not yield a voluminous

number of documents for multiple persons or entities with names containing a search term (in

1
 As used throughout this document, the term “non-privileged” means any document not protected from disclosure
by the attorney-client privilege, attorney work product protection, or any other privilege or protection.


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which case Dubai Islamic Bank will be willing to meet and confer with Plaintiffs) or documents

pertaining solely to persons or entities who have not been affiliated with al Qaida.


REQUEST NO. 2

       Please provide all documents relating to all other transactions at DIB, financial or

otherwise, involving Osama bin Laden or any entity in which he has held any beneficial interest,

and which are not responsive to Request No. 1 above.


RESPONSE TO REQUEST NO. 2

       Dubai Islamic Bank objects to this request as overly broad, unduly burdensome, and

seeking information not relevant to a claim or defense of any party on the grounds that it is not

reasonably limited in temporal scope. Dubai Islamic Bank also objects to this request as vague,

ambiguous, unduly burdensome, uncertain, and seeking information not relevant to a claim or

defense of any party in its use of the terms “involving Osama bin Laden,” “any entity in which

he has held any beneficial interest,” and “other transactions at DIB, financial or otherwise.”

       Subject to and without waiving the foregoing Specific Objections and General

Objections, Dubai Islamic Bank will search in its electronic wire transfer record system using the

search term “Osama bin Laden” to determine whether any transaction record contains that search

term and, if so, Dubai Islamic Bank will produce for that transaction the non-privileged wire

transfer records, if any exist, from January 1, 1992 to September 11, 2001, provided that the

search for such documents does not yield a voluminous number of documents for multiple

persons or entities with names containing a search term (in which case Dubai Islamic Bank will

be willing to meet and confer with Plaintiffs) or documents pertaining solely to persons or

entities who have not been affiliated with al Qaida.



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REQUEST NO. 3

       Please provide all documents relating to all DIB accounts established or held in the name

of, on behalf of and/or for the benefit of Mustafa Ahmed al Hisawi (a/k/a Shaykh Sa’id; a/k/a

Mustafa Muhammed Ahmed), any DIB account for any entity in which al Hisawi held any

beneficial interest, and/or any DIB account over which al Hisawi had signatory authority or had

any actual or potential beneficial interest. Such documents shall include, but are not limited to,

correspondence, letters, memoranda, notes, and/or e-mails, that refer to, relate to, or reflect

communications between or among al Hisawi and DIB, documents detailing the establishment of

and/or closing of the account(s), Know-Your-Customer and/or other customer due diligence

reports, suspicious activity and/or transaction reports, account numbers, monthly account

statements, annual account statements, account notices, deposits, withdrawals, deposit slips,

check stubs, cleared or canceled checks, cashier checks, money orders, debit/credit memos,

financial ledgers, journals, investment records, real estate records, records of assets, loan records,

audit work papers, audit reports, or wire transfers, and any documentation showing the source(s)

and/or destination(s) of any funds deposited into or withdrawn from those accounts.


RESPONSE TO REQUEST NO. 3

       Dubai Islamic Bank objects to this request as overly broad, unduly burdensome, and

seeking information not relevant to a claim or defense of any party on the grounds that it is not

reasonably limited in temporal scope. Dubai Islamic Bank objects to this request as vague,

ambiguous, unduly burdensome, and uncertain in its use of the terms “on behalf of and/or for the

benefit of Mustafa Ahmed al Hisawi (a/k/a Shaykh Sa’id; a/k/a Mustafa Muhammed Ahmed),”

“any entity in which al Hisawi held any beneficial interest,” “any DIB account over which al

Hisawi had any actual or potential beneficial interest.” Dubai Islamic Bank objects to this


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request as unduly burdensome in its request related to “signatory authority.” Dubai Islamic Bank

also objects to this request as vague and ambiguous in its use of the terms “account notices,”

“financial ledgers,” “journals,” “deposits,” “withdrawals,” and “investment records.” Dubai

Islamic Bank further objects to this request as vague and ambiguous in its use of the term

“debit/credit memos.” Dubai Islamic Bank understands that term to mean debit and credit

entries on an account statement. Dubai Islamic Bank also objects to this request as overly broad

and unduly burdensome in seeking all “deposit slips,” “check stubs,” “cleared or canceled

checks,” “cashier checks,” and “money orders.”           Dubai Islamic Bank objects to “any

documentation showing the source(s) and/or destination(s) of any funds deposited into or

withdrawn from those accounts” as vague, ambiguous, overly broad, unduly burdensome, and

seeking information not relevant to a claim or defense of any party.

       Subject to and without waiving the foregoing Specific Objections and General

Objections, Dubai Islamic Bank will search in the accountholder field in its electronic account

record keeping system using the search terms “Mustafa Ahmed al Hisawi,” “Shaykh Sa’id,” and

“Mustafa Muhammed Ahmed” to determine whether any account has existed in those names

and, if so, Dubai Islamic Bank will produce for that account non-privileged account opening and

closing documents, Know-Your-Customer or other customer due diligence reports, suspicious

activity or transaction reports, account numbers, monthly account statements, annual account

statements, account notices, real estate records, records of assets, loan records, audit work

papers, audit reports, and wire transfers, if any exist, from January 1, 1992 to September 11,

2001, provided that the search for such documents does not yield a voluminous number of

documents for multiple persons or entities with names containing a search term (in which case




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Dubai Islamic Bank will be willing to meet and confer with Plaintiffs) or documents pertaining

solely to persons or entities who have not been affiliated with al Qaida.


REQUEST NO. 4

       Please provide all documents relating to all other transactions at DIB, financial or

otherwise, involving Mustafa Ahmed al Hisawi or any entity in which he has held any beneficial

interest, and which are not responsive to Request No. 3 above.


RESPONSE TO REQUEST NO. 4

       Dubai Islamic Bank objects to this request as overly broad, unduly burdensome, and

seeking information not relevant to a claim or defense of any party on the grounds that it is not

reasonably limited in temporal scope. Dubai Islamic Bank objects to this request as vague,

ambiguous, unduly burdensome and uncertain in its use of “involving Mustafa Ahmed al

Hisawi,” “any entity in which he has held any beneficial interest,” and “other transactions at

DIB, financial or otherwise.”

       Subject to and without waiving the foregoing Specific Objections and General

Objections, Dubai Islamic Bank will search in its electronic wire transfer record system using the

search term “Mustafa Ahmed al Hisawi” to determine whether any transaction record contains

this search term and, if so, Dubai Islamic Bank will produce for that transaction the non-

privileged wire transfer records, if any exist, from January 1, 1992 to September 11, 2001,

provided that the search for such documents does not yield a voluminous number of documents

for multiple persons or entities with names containing a search term (in which case Dubai

Islamic Bank will be willing to meet and confer with Plaintiffs) or documents pertaining solely

to persons or entities who have not been affiliated with al Qaida.



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REQUEST NO. 5

       Please provide all documents relating to all DIB accounts established or held in the name

of, on behalf of and/or for the benefit of Ali Abdul Aziz Ali (a/k/a Ammar al Baluchi), any DIB

account for any entity in which Ali held any beneficial interest, and/or any DIB account over

which Ali had signatory authority or had any actual or potential beneficial interest. Such

documents shall include, but are not limited to, correspondence, letters, memoranda, notes,

and/or e-mails, that refer to, relate to, or reflect communications between or among Ali and DIB,

documents detailing the establishment of and/or closing of the account(s), Know-Your-Customer

and/or other customer due diligence reports, suspicious activity and/or transaction reports,

account numbers, monthly account statements, annual account statements, account notices,

deposits, withdrawals, deposit slips, check stubs, cleared or canceled checks, cashier checks,

money orders, debit/credit memos, financial ledgers, journals, investment records, real estate

records, records of assets, loan records, audit work papers, audit reports, or wire transfers, and

any documentation showing the source(s) and/or destination(s) of any funds deposited into or

withdrawn from those accounts.


RESPONSE TO REQUEST NO. 5

       Dubai Islamic Bank objects to this request as overly broad, unduly burdensome, and

seeking information not relevant to a claim or defense of any party on the grounds that it is not

reasonably limited in temporal scope. Dubai Islamic Bank objects to this request as vague,

ambiguous, unduly burdensome, and uncertain in its use of the terms “on behalf of and/or for the

benefit of Ali Abdul Aziz Ali (a/k/a Ammar al Baluchi),” “any entity in which Ali held any

beneficial interest,” “any DIB account over which Ali had any actual or potential beneficial

interest.” Dubai Islamic Bank objects to this request as unduly burdensome in its request related


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to “signatory authority.”   Dubai Islamic Bank also objects to this request as vague and

ambiguous in its use of the terms “account notices,” “financial ledgers,” “journals,” “deposits,”

“withdrawals,” and “investment records.” Dubai Islamic Bank further objects to this request as

vague and ambiguous in its use of the term “debit/credit memos.”           Dubai Islamic Bank

understands that term to mean debit and credit entries on an account statement. Dubai Islamic

Bank also objects to this request as overly broad and unduly burdensome in seeking all “deposit

slips,” “check stubs,” “cleared or canceled checks,” “cashier checks,” and “money orders.”

Dubai Islamic Bank objects to “any documentation showing the source(s) and/or destination(s)

of any funds deposited into or withdrawn from those accounts” as vague, ambiguous, overly

broad, unduly burdensome, and seeking information not relevant to a claim or defense of any

party.

         Subject to and without waiving the foregoing Specific Objections and General

Objections, Dubai Islamic Bank will search in the accountholder field in its electronic account

record keeping system using the search terms “Ali Abdul Aziz Ali” and “Ammar al Baluchi” to

determine whether any account has existed in either name and, if so, Dubai Islamic Bank will

produce for that account non-privileged account opening and closing documents, Know-Your-

Customer or other customer due diligence reports, suspicious activity or transaction reports,

account numbers, monthly account statements, annual account statements, account notices, real

estate records, records of assets, loan records, audit work papers, audit reports, and wire

transfers, if any exist, from January 1, 1992 to September 11, 2001, provided that the search for

such documents does not yield a voluminous number of documents for multiple persons or

entities with names containing a search term (in which case Dubai Islamic Bank will be willing




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to meet and confer with Plaintiffs) or documents pertaining solely to persons or entities who

have not been affiliated with al Qaida.


REQUEST NO. 6

       Please provide all documents relating to all other transactions at DIB, financial or

otherwise, involving Ali Abdul Aziz Ali or any entity in which he has held any beneficial

interest, and which are not responsive to Request No. 5 above.


RESPONSE TO REQUEST NO. 6

       Dubai Islamic Bank objects to this request as overly broad, unduly burdensome, and

seeking information not relevant to a claim or defense of any party on the grounds that it is not

reasonably limited in temporal scope. Dubai Islamic Bank objects to this request as vague,

ambiguous, unduly burdensome and uncertain in its use of “involving Ali Abdul Aziz Ali,” “any

entity in which he has held any beneficial interest,” and “other transactions at DIB, financial or

otherwise.”

       Subject to and without waiving the foregoing Specific Objections and General

Objections, Dubai Islamic Bank will search in its electronic wire transfer record system using the

search terms “Ali Abdul Aziz Ali” and “Ammar al Baluchi” to determine whether any

transaction record contains either search term and, if so, Dubai Islamic Bank will produce for

that transaction the non-privileged wire transfer records, if any exist, from January 1, 1992 to

September 11, 2001, provided that the search for such documents does not yield a voluminous

number of documents for multiple persons or entities with names containing a search term (in

which case Dubai Islamic Bank will be willing to meet and confer with Plaintiffs) or documents

pertaining solely to persons or entities who have not been affiliated with al Qaida.



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REQUEST NO. 7

        Please provide all documents relating to all DIB accounts established or held in the name

of, on behalf of and/or for the benefit of any of the September 11, 2001 hijackers identified in

Attachment A [hereinafter collectively referred to as the “9-11 Hijackers”], any DIB account for

any entity in which the 9-11 Hijackers held any beneficial interest, and/or any DIB account over

which the 9-11 Hijackers had signatory authority or had any actual or potential beneficial

interest.   Such documents shall include, but are not limited to, correspondence, letters,

memoranda, notes, and/or e-mails, that refer to, relate to, or reflect communications between or

among the 9-11 Hijackers and DIB, documents detailing the establishment of and/or closing of

the account(s), Know-Your-Customer and/or other customer due diligence reports, suspicious

activity and/or transaction reports, account numbers, monthly account statements, annual account

statements, account notices, deposits, withdrawals, deposit slips, check stubs, cleared or canceled

checks, cashier checks, money orders, debit/credit memos, financial ledgers, journals, investment

records, real estate records, records of assets, loan records, audit work papers, audit reports, or

wire transfers, and any documentation showing the source(s) and/or destination(s) of any funds

deposited into or withdrawn from those accounts.


RESPONSE TO REQUEST NO. 7

        Dubai Islamic Bank objects to this request as overly broad, unduly burdensome, and

seeking information not relevant to a claim or defense of any party on the grounds that it is not

reasonably limited in temporal scope. Dubai Islamic Bank objects to this request as vague,

ambiguous, unduly burdensome, and uncertain in its use of the terms “on behalf of and/or for the

benefit of September 11, 2001 hijackers identified in Attachment A,” “any entity in which the 9-

11 Hijackers held any beneficial interest,” “any DIB account over which the 9-11 Hijackers had


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any actual or potential beneficial interest.” Dubai Islamic Bank objects to this request as unduly

burdensome in its request related to “signatory authority.” Dubai Islamic Bank also objects to

this request as vague and ambiguous in its use of the terms “account notices,” “financial

ledgers,” “journals,” “deposits,” “withdrawals,” and “investment records.” Dubai Islamic Bank

further objects to this request as vague and ambiguous in its use of the term “debit/credit

memos.” Dubai Islamic Bank understands that term to mean debit and credit entries on an

account statement. Dubai Islamic Bank also objects to this request as overly broad and unduly

burdensome in seeking all “deposit slips,” “check stubs,” “cleared or canceled checks,” “cashier

checks,” and “money orders.” Dubai Islamic Bank objects to “any documentation showing the

source(s) and/or destination(s) of any funds deposited into or withdrawn from those accounts” as

vague, ambiguous, overly broad, unduly burdensome, and seeking information not relevant to a

claim or defense of any party.

       Subject to and without waiving the foregoing Specific Objections and General

Objections, Dubai Islamic Bank will search in the accountholder field in its electronic account

record keeping system using the search terms “Khalid al Mihdhar,” “Majed Moqed,” “Nawaf al

Hamzi,” “Salem al Hamzi,” “Hani Hanjour,” “Satam al Suqami,” “Waleed al Shehri,” “Wail al

Shehri,” “Mohamed Atta,” “Abdulaziz al Omari,” “Marwan al Shehhi,” “Fayez Banihammad,”

“Ahmed al Ghamdi,” “Hamza al Ghamdi,” “Mohand al Shehri,” “Saeed al Ghamdi,” “Ahmad al

Haznawi,” “Ahmed al Nami,” and “Ziad Jarrah” to determine whether any account has existed in

any of those names and, if so, Dubai Islamic Bank will produce for that account non-privileged

account opening and closing documents, Know-Your-Customer or other customer due diligence

reports, suspicious activity or transaction reports, account numbers, monthly account statements,

annual account statements, account notices, real estate records, records of assets, loan records,



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audit work papers, audit reports, and wire transfers, if any exist, from January 1, 1992 to

September 11, 2001, provided that the search for such documents does not yield a voluminous

number of documents for multiple persons or entities with names containing a search term (in

which case Dubai Islamic Bank will be willing to meet and confer with Plaintiffs) or documents

pertaining solely to persons or entities who have not been affiliated with al Qaida.


REQUEST NO. 8

       Please provide all documents relating to all other transactions at DIB, financial or

otherwise, involving the 9-11 Hijackers or any entity in which they held any beneficial interest,

and which are not responsive to Request No. 7 above.


RESPONSE TO REQUEST NO. 8

       Dubai Islamic Bank objects to this request as overly broad, unduly burdensome, and

seeking information not relevant to a claim or defense of any party on the grounds that it is not

reasonably limited in temporal scope. Dubai Islamic Bank objects to this request as vague,

ambiguous, unduly burdensome, and uncertain in its use of “involving the 9-11 Hijackers,” “any

entity in which they held any beneficial interest,” and “other transactions at DIB, financial or

otherwise.”

       Subject to and without waiving the foregoing Specific Objections and General

Objections, Dubai Islamic Bank will search in its electronic wire transfer record system using the

search terms “Khalid al Mihdhar,” “Majed Moqed,” “Nawaf al Hamzi,” “Salem al Hamzi,”

“Hani Hanjour,” “Satam al Suqami,” “Waleed al Shehri,” “Wail al Shehri,” “Mohamed Atta,”

“Abdulaziz al Omari,” “Marwan al Shehhi,” “Fayez Banihammad,” “Ahmed al Ghamdi,”

“Hamza al Ghamdi,” “Mohand al Shehri,” “Saeed al Ghamdi,” “Ahmad al Haznawi,” “Ahmed al

Nami,” and “Ziad Jarrah” to determine whether any transaction record contains any of those

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search terms and, if so, Dubai Islamic Bank will produce for that transaction the non-privileged

wire transfer records, if any exist, from January 1, 1992 to September 11, 2001, provided that the

search for such documents does not yield a voluminous number of documents for multiple

persons or entities with names containing a search term (in which case Dubai Islamic Bank will

be willing to meet and confer with Plaintiffs) or documents pertaining solely to persons or

entities who have not been affiliated with al Qaida.


REQUEST NO. 9

       For all DIB accounts relating to Osama bin Laden, Mustafa Ahmed al Hisawi, Ali Abdul

Aziz Ali and the 9-11 Hijackers, please provide all documents describing, detailing, or

summarizing all transfers of funds between and among those accounts.


RESPONSE TO REQUEST NO. 9

       Dubai Islamic Bank reasserts and incorporates herein all Specific and General Objections

asserted in its Responses to Request Nos. 1, 3, 5, and 7.

       Subject to and without waiving the foregoing Specific Objections and General

Objections, Dubai Islamic Bank will produce non-privileged documents, if any exist, describing,

detailing, or summarizing transfers of funds between and among any account identified as

responsive using the search methodology set forth in Dubai Islamic Bank’s Responses to

Request Nos. 1, 3, 5, and 7 from January 1, 1992 to September 11, 2001.


REQUEST NO. 10

       Please provide all documents relating to any business, banking, financial, employment,

charitable, religious, or other relationship between DIB and the persons identified in Attachment

B, including without limitation, all documents relating to any and all transactions, financial or


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otherwise, involving those persons. Responsive documents shall include, but are not limited to,

documents relating to all DIB accounts established or held in the name of, on behalf of, and/or

for the benefit of the persons identified in Attachment B, any DIB account for any entity in

which those persons held any beneficial interest, and/or any DIB account over which the persons

identified in Attachment B had signatory authority or had any actual or potential beneficial

interest. Responsive documents shall also include, but are not limited to, correspondence, letters,

memoranda, notes, and/or e-mails, that refer to, relate to, or reflect communications between or

among the persons identified in Attachment B and DIB, documents detailing the establishment of

and/or closing of the account(s), Know-Your-Customer and/or other customer due diligence

reports, suspicious activity and/or transaction reports, account numbers, monthly account

statements, annual account statements, account notices, deposits, withdrawals, deposit slips,

check stubs, cleared or canceled checks, cashier checks, money orders, debit/credit memos,

financial ledgers, journals, investment records, real estate records, records of assets, loan records,

audit work papers, audit reports, or wire transfers, and any documentation showing the source(s)

and/or destination(s) of any funds deposited into or withdrawn from those accounts.


RESPONSE TO REQUEST NO. 10

       Dubai Islamic Bank objects to this request as overly broad, unduly burdensome, and

seeking information not relevant to a claim or defense of any party on the grounds that it is not

reasonably limited in temporal scope. Dubai Islamic Bank objects to this request as vague,

ambiguous, unduly burdensome, uncertain, and seeking information not relevant to a claim or

defense of any party in its use of the terms “business … religious, or other relationship between

DIB and the persons identified in Attachment B,” “any and all transactions, financial or

otherwise,” “on behalf of and/or for the benefit of the persons identified in Attachment B,” “any


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entity in which those persons held any beneficial interest,” “any DIB account over which the

persons identified in Attachment B had any actual or potential beneficial interest.” Dubai

Islamic Bank objects to this request as unduly burdensome in its request related to “signatory

authority.” Dubai Islamic Bank also objects to this request as vague and ambiguous in its use of

the terms “account notices,” “financial ledgers,” “journals,” “deposits,” “withdrawals,” and

“investment records.”    Dubai Islamic Bank further objects to this request as vague and

ambiguous in its use of the term “debit/credit memos.” Dubai Islamic Bank understands that

term to mean debit and credit entries on an account statement. Dubai Islamic Bank also objects

to this request as overly broad and unduly burdensome in seeking all “deposit slips,” “check

stubs,” “cleared or canceled checks,” “cashier checks,” and “money orders.” Dubai Islamic

Bank objects to “any documentation showing the source(s) and/or destination(s) of any funds

deposited into or withdrawn from those accounts” as vague, ambiguous, overly broad, unduly

burdensome, and seeking information not relevant to a claim or defense of any party. Dubai

Islamic Bank further objects to this request as seeking information not relevant to a claim or

defense of any party to the extent it seeks information concerning “Saidi Madani al Tayyib (a/k/a

Sidi al Madani al Ghazi Mustafa al Tayyib; a/k/a Sayed Tayib al Madani; a/k/a Sa’idi al Madani

al Ghazi Mustfa al Tayyib; a/k/a Abu Fadl; a/k/a Abu Fadil; a/k/a Abu Fadil al Makki; a/k/a Abu

Amjed; a/k/a Abu Mahdi; a/k/a Abu Khalifah al Omani)” “Jamal Ahmad Mohamed al Fadl,”

“Mamdouh Mahmoud Salim (a/k/a Abu Hajer al Iraqi),” and “ Abu Ubaidah al Banshiri (a/k/a

Ali Amin al Rashidi).”

       Subject to and without waiving the foregoing Specific Objections and General

Objections, Dubai Islamic Bank will search in the accountholder field in its electronic account

record keeping system using the search terms “Sharif al Din Ali Mukhtar,” “Abu Rida al Sufi,”



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“Mohamed Loay Bayazid, “Mohammed Loay Baizid,” Abu Ridha al Suri,” “Abu Rida the

Syrian,” “Wa’el Hamza Jelaidan, “Abu al Hasan,” “Abu Hassan al Madani,” “Abu Anas, “Abu

Anas al Saudi,” “Abu Hammam,” “Abu Horan,” “Ali Haroun,” “Abu Hassan al Sudani,” “Abu

Hafs al Masri,” “Sheikh Taysir Abdullah,” “Abu Hafs,” “Abu Sitta,” “Abu Hafs al Kabir,” “Abu

Khadijah,” “Abu Fatima,” “Sheikh Said al Masri, “Saeed al Masri,” “Mustafa Ahmed

Muhammad Uthman Abu al Yazid,” “Abu Yassir Sarrir,” Abu Yassir al Jaza’iri,” “Mohammed

Yassir al Masri,” “Aafia Siddiqui,” and “Fahrem Shahin” (“Request 10 Search Terms”) to

determine whether any account has existed in those names and, if so, Dubai Islamic Bank will

produce for that account non-privileged account opening and closing documents, Know-Your-

Customer or other customer due diligence reports, suspicious activity or transaction reports,

account numbers, monthly account statements, annual account statements, account notices, real

estate records, records of assets, loan records, audit work papers, audit reports, and wire

transfers, if any exist, from January 1, 1992 to September 11, 2001, provided that the search for

such documents does not yield a voluminous number of documents for multiple persons or

entities with names containing a search term (in which case Dubai Islamic Bank will be willing

to meet and confer with Plaintiffs) or documents pertaining solely to persons or entities who

have not been affiliated with al Qaida. Dubai Islamic Bank will additionally search using the

Request 10 Search Terms in its employment records and records of charitable contributions to

determine whether any record exists in those names, and if so, Dubai Islamic Bank will produce

non-privileged employment records and records of charitable contributions for those names, if

any exist, from January 1, 1992 to September 11, 2001, provided that the search for such

documents does not yield a voluminous number of documents for multiple persons or entities

with names containing a search term (in which case Dubai Islamic Bank will be willing to meet



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and confer with Plaintiffs) or documents pertaining solely to persons or entities who have not

been affiliated with al Qaida.


REQUEST NO. 11

       Please provide all documents relating to any business, banking, financial, employment,

charitable, religious or other relationship between DIB and the entities identified in Attachment

C, including without limitation, all documents relating to any and all transactions, financial or

otherwise, involving those entities. Responsive documents shall include, but are not limited to,

documents relating to all DIB accounts established or held in the name of, on behalf of, and/or

for the benefit of the entities identified in Attachment C, and/or any DIB account in which the

entities identified in Attachment C had any actual or potential beneficial interest. Responsive

documents shall also include, but are not limited to, correspondence, letters, memoranda, notes,

and/or e-mails, that refer to, relate to, or reflect communications between or among the entities

identified in Attachment C and DIB, documents detailing the establishment of and/or closing of

the account(s), Know-Your-Customer and/or other customer due diligence reports, suspicious

activity and/or transaction reports, account numbers, monthly account statements, annual account

statements, account notices, deposits, withdrawals, deposit slips, check stubs, cleared or canceled

checks, cashier checks, money orders, debit/credit memos, financial ledgers, journals, investment

records, real estate records, records of assets, loan records, audit work papers, audit reports, or

wire transfers, and any documentation showing the source(s) and/or destination(s) of any funds

deposited into or withdrawn from those accounts.


RESPONSE TO REQUEST NO. 11

       Dubai Islamic Bank objects to this request as overly broad, unduly burdensome, and

seeking information not relevant to a claim or defense of any party on the grounds that it is not

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reasonably limited in temporal scope. Dubai Islamic Bank objects to this request as vague,

ambiguous, unduly burdensome, and uncertain in its use of the terms “business … religious, or

other relationship between DIB and the entities identified in Attachment C,” “any and all

transactions, financial or otherwise,” “on behalf of and/or for the benefit of the entities identified

in Attachment C,” “any DIB account over which the entities identified in Attachment C had any

actual or potential beneficial interest.” Dubai Islamic Bank also objects to this request as vague

and ambiguous in its use of the terms “account notices,” “financial ledgers,” “journals,”

“deposits,” “withdrawals,” and “investment records.” Dubai Islamic Bank further objects to this

request as vague and ambiguous in its use of the term “debit/credit memos.” Dubai Islamic Bank

understands that term to mean debit and credit entries on an account statement. Dubai Islamic

Bank also objects to this request as overly broad and unduly burdensome in seeking all “deposit

slips,” “check stubs,” “cleared or canceled checks,” “cashier checks,” and “money orders.”

Dubai Islamic Bank objects to “any documentation showing the source(s) and/or destination(s)

of any funds deposited into or withdrawn from those accounts” as vague, ambiguous, overly

broad, unduly burdensome, and seeking information not relevant to a claim or defense of any

party.

         Subject to and without waiving the foregoing Specific Objections and General

Objections, Dubai Islamic Bank will search in the accountholder field in its electronic account

record keeping system using the search terms “Wadi al Aqiq Company, Ltd.,” “Al Hijrah

Construction and Development, Ltd.,” “Taba Investment Company, Ltd.,” “Al Timar al

Mubarikah,” “Gum Arabic Company,” “Bin Ladin International,” “Al Qudarat Transport

Company,” and “Blessed Fruits Company” to determine whether any account has existed in

those names and, if so, Dubai Islamic Bank will produce for that account non-privileged account



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opening and closing documents, Know-Your-Customer and/or other customer due diligence

reports, suspicious activity and/or transaction reports, account numbers, monthly account

statements, annual account statements, account notices, real estate records, records of assets, loan

records, audit work papers, audit reports, and wire transfers, if any exist, from January 1, 1992 to

September 11, 2001, provided that the search for such documents does not yield a voluminous

number of documents for multiple persons or entities with names containing a search term (in

which case Dubai Islamic Bank will be willing to meet and confer with Plaintiffs) or documents

pertaining solely to persons or entities who have not been affiliated with al Qaida. Dubai Islamic

Bank will additionally search for the terms “Wadi al Aqiq Company, Ltd.,” “Al Hijrah

Construction and Development, Ltd.,” “Taba Investment Company, Ltd.,” “Al Timar al

Mubarikah,” “Gum Arabic Company,” “Bin Ladin International,” “Al Qudarat Transport

Company,” and “Blessed Fruits Company” in its employment records and records of charitable

contributions to determine whether any record exists in those names, and if so, Dubai Islamic

Bank will produce non-privileged employment records and records of charitable contributions

for those names, if any exist, from January 1, 1992 to September 11, 2001, provided that the

search for such documents does not yield a voluminous number of documents for multiple

persons or entities with names containing a search term (in which case Dubai Islamic Bank will

be willing to meet and confer with Plaintiffs) or documents pertaining solely to persons or

entities who have not been affiliated with al Qaida.


REQUEST NO. 12

       Please provide all documents relating to all DIB accounts established or held in the name

of, on behalf of, and/or for the benefit of DIB’s founder and current board member, Saeed

Ahmad Lootah, any DIB account for any entity in which Lootah held any beneficial interest,


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and/or any DIB account over which Lootah had signatory authority or had any actual or potential

beneficial interest. Such documents shall include, but are not limited to, correspondence, letters,

memoranda, notes, and/or e-mails, that refer to, relate to, or reflect communications between or

among Lootah and DIB, documents detailing the establishment of and/or closing of the

account(s), Know-Your-Customer and/or other customer due diligence reports, suspicious

activity and/or transaction reports, account numbers, monthly account statements, annual account

statements, account notices, deposits, withdrawals, deposit slips, check stubs, cleared or canceled

checks, cashier checks, money orders, debit/credit memos, financial ledgers, journals, investment

records, real estate records, records of assets, loan records, audit work papers, audit reports, or

wire transfers, and any documentation showing the source(s) and/or destination(s) of any funds

deposited into or withdrawn from those accounts.


RESPONSE TO REQUEST NO. 12

       Dubai Islamic Bank objects to this request as overly broad, unduly burdensome, and

seeking information not relevant to a claim or defense of any party on the grounds that it is not

reasonably limited in temporal scope. Dubai Islamic Bank objects to this request as overly

broad, unduly burdensome, and seeking information not relevant to a claim or defense of any

party. Dubai Islamic Bank also objects to this request as vague, ambiguous, unduly burdensome,

and uncertain in its use of the terms “on behalf of and/or for the benefit of DIB’s founder and

current board member, Saeed Ahmad Lootah,” “any entity in which Lootah held any beneficial

interest,” and “any DIB account over which Lootah had any actual or potential beneficial

interest.” Dubai Islamic Bank objects to this request as unduly burdensome in its request related

to “signatory authority.”    Dubai Islamic Bank also objects to this request as vague and

ambiguous in its use of the terms “account notices,” “financial ledgers,” “journals,” “deposits,”


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“withdrawals,” and “investment records.” Dubai Islamic Bank further objects to this request as

vague and ambiguous in its use of the term “debit/credit memos.”           Dubai Islamic Bank

understands that term to mean debit and credit entries on an account statement. Dubai Islamic

Bank also objects to this request as overly broad and unduly burdensome in seeking all “deposit

slips,” “check stubs,” “cleared or canceled checks,” “cashier checks,” and “money orders.”

Dubai Islamic Bank objects to “any documentation showing the source(s) and/or destination(s)

of any funds deposited into or withdrawn from those accounts” as vague, ambiguous, overly

broad, unduly burdensome, and seeking information not relevant to a claim or defense of any

party.


REQUEST NO. 13

         Please provide all documents relating to any business, banking, financial, employment,

charitable, religious, or other relationship between Saeed Ahmad Lootah and Saidi Madani al

Tayyib. Such documents shall include, but are not limited to, all written or oral communications

between Lootah and al Tayyib (correspondence, letters, memoranda, notes, emails, facsimiles or

otherwise).


RESPONSE TO REQUEST NO. 13

         Dubai Islamic Bank objects to this request as overly broad, unduly burdensome, and

seeking information not relevant to a claim or defense of any party on the grounds that it is not

reasonably limited in temporal scope. Dubai Islamic Bank objects to this request as overly

broad, unduly burdensome, and seeking information not relevant to a claim or defense of any

party. Dubai Islamic Bank objects to this request as vague, ambiguous, unduly burdensome, and

uncertain in its use of the terms “business … religious, or other relationship between Saeed

Ahmad Lootah and Saidi Madani al Tayyib.”

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REQUEST NO. 14

        Please provide all documents relating to any transaction, financial or otherwise, involving

Saeed Ahmad Lootah and Saidi Madani al Tayyib, including without limitation, all documents

relating to the transfer of funds from any of Mr. Lootah’s accounts to Saidi Madani al Tayyib

(including any DIB account established or held in the name of, on behalf of and/or for the benefit

of al Tayyib, any DIB account for any entity in which al Tayyib held any beneficial interest,

and/or any DIB account over which al Tayyib had signatory authority or had any actual or

potential beneficial interest).


RESPONSE TO REQUEST NO. 14

        Dubai Islamic Bank objects to this request as overly broad, unduly burdensome, and

seeking information not relevant to a claim or defense of any party on the grounds that it is not

reasonably limited in temporal scope. Dubai Islamic Bank objects to this request as overly

broad, unduly burdensome, and seeking information not relevant to a claim or defense of any

party. Dubai Islamic Bank also objects to this request as vague, ambiguous, unduly burdensome,

and uncertain in its use of the terms “any transaction, financial or otherwise, involving Saeed

Ahmad Lootah and Saidi Madani al Tayyib,” “any of Mr. Lootah’s accounts,” “on behalf of

and/or for the benefit of al Tayyib, any DIB account for any entity in which al Tayyib held any

beneficial interest, and/or any DIB account over which al Tayyib had any actual or potential

beneficial interest.” Dubai Islamic Bank objects to this request as unduly burdensome in its

request related to “signatory authority.”


REQUEST NO. 15

        Please provide all documents relating to any transaction, financial or otherwise, involving

Saeed Ahmad Lootah and the persons and entities in Attachments A-C, including without

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limitation, all documents relating to the transfer of funds from any of Mr. Lootah’s accounts to

the persons and entities in Attachments A-C (including any DIB account established or held in

the name of, on behalf of and/or for the benefit of the persons and entities in Attachments A-C,

any DIB account for any entity in which the persons and entities in Attachments A-C held any

beneficial interest, and/or any DIB account over which the persons and entities in Attachments

A-C had signatory authority or had any actual or potential beneficial interest).


RESPONSE TO REQUEST NO. 15

       Dubai Islamic Bank objects to this request as overly broad, unduly burdensome, and

seeking information not relevant to a claim or defense of any party on the grounds that it is not

reasonably limited in temporal scope. Dubai Islamic Bank also objects to this request as vague,

ambiguous, unduly burdensome, and uncertain in its use of the terms “any transaction, financial

or otherwise, involving Saeed Ahmad Lootah and the persons and entities in Attachments A-C,”

“any of Mr. Lootah’s accounts,” “on behalf of and/or for the benefit of the persons and entities in

Attachments A-C,” “any entity in which the persons and entities in Attachments A-C held any

beneficial interest, and/or any DIB account over which the persons and entities in Attachments

A-C had any actual or potential beneficial interest.” Dubai Islamic Bank objects to this request

as unduly burdensome in its request related to “signatory authority.” Dubai Islamic Bank further

objects to this request as seeking information not relevant to a claim or defense of any party to

the extent it seeks information concerning “Saidi Madani al Tayyib (a/k/a Sidi al Madani al

Ghazi Mustafa al Tayyib; a/k/a Sayed Tayib al Madani; a/k/a Sa’idi al Madani al Ghazi Mustfa

al Tayyib; a/k/a Abu Fadl; a/k/a Abu Fadil; a/k/a Abu Fadil al Makki; a/k/a Abu Amjed; a/k/a

Abu Mahdi; a/k/a Abu Khalifah al Omani),” “Jamal Ahmad Mohamed al Fadl,” “Mamdouh




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Mahmoud Salim (a/k/a Abu Hajer al Iraqi),” and “Abu Ubaidah al Banshiri (a/k/a Ali Amin al

Rashidi).”

       Subject to and without waiving the foregoing Specific Objections and General

Objections, Dubai Islamic Bank will search in the accountholder field in its electronic account

record keeping system using the search term “Saeed Ahmad Lootah” to determine whether any

account has existed in that name and, if so, Dubai Islamic Bank will produce non-privileged

documents, if any exist, describing, detailing, or summarizing transfers of funds between that

account and any account identified in Dubai Islamic Bank’s Responses to Request Nos. 7, 10 and

11 from January 1, 1992 to September 11, 2001, provided that the search for such documents

does not yield a voluminous number of documents for multiple persons or entities with names

containing a search term (in which case Dubai Islamic Bank will be willing to meet and confer

with Plaintiffs) or documents pertaining solely to persons or entities who have not been affiliated

with al Qaida.


REQUEST NO. 16

       Please provide all documents relating to any investigation, inquiry, review, audit, or

analysis conducted by any United States state or federal governmental entity, agency and/or

department, or any United States-based regulatory body, law enforcement agency, grand jury,

bank, financial institution, accountant, or auditor (collectively “United States Investigator”), any

foreign government or any foreign-based regulatory body, law enforcement agency, grand jury,

bank, financial institution, accountant, or auditor (collectively “Foreign Investigator”), or by the

United Arab Emirates or any U.A.E.-based regulatory body, law enforcement agency, grand jury,

bank, financial institution, accountant, or auditor (collectively “U.A.E. Investigator”), which




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references or addresses any of the DIB accounts, persons, or entities identified in Requests Nos.

1-15 above.


RESPONSE TO REQUEST NO. 16

       Dubai Islamic Bank objects to this request as overly broad, unduly burdensome, and

seeking information not relevant to a claim or defense of any party on the grounds that it is not

reasonably limited in temporal scope. Dubai Islamic Bank objects to this request as overly

broad, unduly burdensome, and seeking information not relevant to a claim or defense of any

party. Dubai Islamic Bank objects to this request as vague, ambiguous, unduly burdensome,

overly broad and seeking information not related to a claim or defense of any party in its use of

the terms “relating to any investigation, inquiry, review, audit, or analysis conducted by any …

state or federal governmental entity, agency and/or department, or any United States-based

regulatory body, law enforcement agency, grand jury, bank, financial institution, accountant, or

auditor.”

       Subject to and without waiving the foregoing Specific Objections and General Objections,

Dubai Islamic Bank will produce non-privileged documents, if any exist, relating to any

investigation, inquiry, review, audit, or analysis conducted by a United States, U.A.E., or foreign

government entity, regulatory body, law enforcement agency, or grand jury (“Government

Investigator”) concerning the persons or entities with the names “al Qaida,” “Osama bin Laden,”

“Mustafa Ahmed al Hisawi,” “Shaykh Sa’id,” “Mustafa Muhammed Ahmed,” “Ali Abdul Aziz

Ali, Ammar al Baluchi”; the names listed on Attachments A and C of Plaintiffs’ requests; or the

Request 10 Search Terms, provided that such documents do not pertain solely to persons or

entities who have not been affiliated with al Qaida.




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REQUEST NO. 17

       Please provide copies of all documents that have been seized by, or produced by DIB to,

any United States Investigator, any Foreign Investigator, or any U.A.E. Investigator, which

references or addresses any of the DIB accounts, persons, or entities identified in Requests Nos.

1-15 above.


RESPONSE TO REQUEST NO. 17

       Dubai Islamic Bank objects to this request as overly broad, unduly burdensome, and

seeking information not relevant to a claim or defense of any party on the grounds that it is not

reasonably limited in temporal scope. Dubai Islamic Bank objects to this request as vague,

ambiguous, overly broad, unduly burdensome, and seeking information not relevant to a claim or

defense of any party in its use of “which references or addresses any of the DIB accounts,

persons, or entities identified in Requests Nos. 1-15 above.”

       Subject to and without waiving the foregoing Specific Objections and General Objections,

Dubai Islamic Bank will produce a non-privileged copy of each document Dubai Islamic Bank

produced to any Government Investigator, if any exists, concerning the persons or entities with

the names “al Qaida,” “Osama bin Laden,” “Mustafa Ahmed al Hisawi,” “Shaykh Sa’id,”

“Mustafa Muhammed Ahmed,” “Ali Abdul Aziz Ali, Ammar al Baluchi”; the names listed on

Attachments A and C of Plaintiffs’ requests; or the Request 10 Search Terms, provided that such

documents do not pertain solely to persons or entities who have not been affiliated with al Qaida.


REQUEST NO. 18

       Please provide all documents relating to any audit, analysis, examination, survey, or

review of the DIB accounts, persons, or entities identified in Requests Nos. 1-15 above,

conducted either by DIB (including DIB’s Fatwa and Shariah Advisory Board - a/k/a “Haiat al-

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Fatawa wa-al Rakaba al-Shareeyah-libank Dubai al-Islami”), or any third party, including but not

limited to, any bank, financial institution, government agency, accountant, or auditor. Such

documents shall include any audit, analysis, examination, survey, or review ordered, conducted,

supervised, overseen, or reviewed by the U.A.E.


RESPONSE TO REQUEST NO. 18

       Dubai Islamic Bank objects to this request as overly broad, unduly burdensome, and

seeking information not relevant to a claim or defense of any party on the grounds that it is not

reasonably limited in temporal scope. Dubai Islamic Bank objects to this request as vague,

ambiguous, overly broad, unduly burdensome, uncertain, and seeking information not relevant to

a claim or defense of any party in its use of the terms “relating to any audit, analysis,

examination, survey, or review conducted either by DIB… or any third party, including but not

limited to, any bank, financial institution, government agency, accountant, or auditor,” and “any

audit, analysis, examination, survey, or review ordered, conducted, supervised, overseen, or

reviewed by the U.A.E.”

       Subject to and without waiving the foregoing Specific Objections and General Objections,

Dubai Islamic Bank will produce non-privileged audit, analysis, examination, survey, or review

reports, if any exist, prepared by Dubai Islamic Bank or any third party concerning the persons or

entities with the names “al Qaida,” “Osama bin Laden,” “Mustafa Ahmed al Hisawi,” “Shaykh

Sa’id,” “Mustafa Muhammed Ahmed,” “Ali Abdul Aziz Ali, Ammar al Baluchi”; the names

listed on Attachments A and C of Plaintiffs’ requests; or the Request 10 Search Terms, provided

that such documents do not pertain solely to persons or entities who have not been affiliated with

al Qaida.




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REQUEST NO. 19

       Please provide all documents relating to any written or oral communication between DIB

and the U.A.E., which references or addresses any of the DIB accounts, persons, or entities

identified in Requests Nos. 1-15 above. Such documents shall include, but are not limited to,

correspondence, letters, memoranda, notes, emails, facsimiles or otherwise.


RESPONSE TO REQUEST NO. 19

       Dubai Islamic Bank objects to this request as overly broad, unduly burdensome, and

seeking information not relevant to a claim or defense of any party on the grounds that it is not

reasonably limited in temporal scope. Dubai Islamic Bank objects to this request as vague,

ambiguous, overly broad, unduly burdensome, and seeking information not relevant to a claim or

defense of any party in its use of “relating to … which references or addresses any of the DIB

accounts, persons, or entities identified in Requests Nos. 1-15 above.”

       Subject to and without waiving the foregoing Specific Objections and General Objections,

Dubai Islamic Bank will produce non-privileged communications, if any exist, between Dubai

Islamic Bank and the U.A.E. concerning the persons or entities with the names “al Qaida,”

“Osama bin Laden,” “Mustafa Ahmed al Hisawi,” “Shaykh Sa’id,” “Mustafa Muhammed

Ahmed,” “Ali Abdul Aziz Ali, Ammar al Baluchi”; the names listed on Attachments A and C of

Plaintiffs’ requests; or the Request 10 Search Terms, provided that such documents do not

pertain solely to persons or entities who have not been affiliated with al Qaida.


REQUEST NO. 20

       Please provide all documents governing, describing, detailing, or otherwise relating to

any relationship between DIB and Osama bin Laden. Such documents shall include, but are not

limited to, all records identifying all DIB officials, board members, trustees, committee members,

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employees, and/or any U.A.E. official, that: (i) met with and/or consulted with Osama bin Laden

and/or his representative(s) regarding DIB’s banking and financial services; (ii) approved of

and/or directed DIB to provide banking and financial services to bin Laden; and (iii) supervised

or managed accounts at DIB in which bin Laden held any actual or potential beneficial interest,

or over which he had signatory authority.


RESPONSE TO REQUEST NO. 20

       Dubai Islamic Bank objects to this request as overly broad, unduly burdensome, and

seeking information not relevant to a claim or defense of any party on the grounds that it is not

reasonably limited in temporal scope. Dubai Islamic Bank objects to this request as vague,

ambiguous, unduly burdensome, and uncertain in its use of the terms “any relationship between

DIB and Osama bin Laden,” “his representative(s),” and “accounts at DIB in which bin Laden

held any actual or potential beneficial interest.” Dubai Islamic Bank objects to this request as

unduly burdensome in its request related to “signatory authority.”

       Subject to and without waiving the foregoing Specific Objections and General Objections,

Dubai Islamic Bank will produce non-privileged documents, if any exist, concerning any

relationship between the bank and an individual named “Osama bin Laden” from January 1,

1992 to September 11, 2001, provided that such documents do not pertain solely to persons or

entities who have not been affiliated with al Qaida.


REQUEST NO. 21

       Please provide all documents DIB sent to, and/or received from, U.A.E. officials,

regarding DIB’s relationship with Osama bin Laden, including without limitation, all documents

relating to the decision to provide banking and financial services to bin Laden, and the



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supervision and management of accounts at DIB in which bin Laden held any actual or potential

beneficial interest, or over which he had signatory authority.


RESPONSE TO REQUEST NO. 21

       Dubai Islamic Bank objects to this request as overly broad, unduly burdensome, and

seeking information not relevant to a claim or defense of any party on the grounds that it is not

reasonably limited in temporal scope. Dubai Islamic Bank objects to this request as vague,

ambiguous, unduly burdensome and uncertain in its use of the terms “U.A.E. officials,” “DIB’s

relationship with Osama bin Laden,” “all documents relating to the decision to provide banking

and financial services to bin Laden,” and “accounts at DIB in which bin Laden held any actual or

potential beneficial interest.” Dubai Islamic Bank objects to this request as unduly burdensome

in its request related to “signatory authority.”

       Subject to and without waiving the foregoing Specific Objections and General Objections,

Dubai Islamic Bank will produce non-privileged documents, if any exist, concerning any

relationship between the bank and an individual named “Osama bin Laden” from January 1,

1992 to September 11, 2001, provided that such documents do not pertain solely to persons or

entities who have not been affiliated with al Qaida.


REQUEST NO. 22

       Please provide all documents relating to the meeting(s) held between U.S. officials and

representatives of DIB and the U.A.E., occurring in or around July 1999 (“July 1999 Meeting(s)”)

in the U.A.E., regarding Osama bin Laden, DIB’s relationship with Osama bin Laden, money

laundering, and/or terrorist financing.




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RESPONSE TO REQUEST NO. 22

       Dubai Islamic Bank objects to this request as overly broad, unduly burdensome, and

seeking information not relevant to a claim or defense of any party on the grounds that it is not

reasonably limited in temporal scope. Dubai Islamic Bank objects to this request as vague,

ambiguous, unduly burdensome, and uncertain in its use of “U.S. officials and representatives of

DIB and the U.A.E.,” and “DIB’s relationship with Osama bin Laden.” Dubai Islamic Bank also

objects to this request as overly broad, unduly burdensome, and seeking information not relevant

to a claim or defense of any party in its use of the term “money laundering, and/or terrorist

financing.”

       Subject to and without waiving the foregoing Specific Objections and General Objections,

Dubai Islamic Bank will produce non-privileged documents, if any exist, concerning (i) any

relationship between the bank and any individual named “Osama bin Laden” and (ii) any

meeting in the U.A.E. attended by the U.S. government, the U.A.E. government, and Dubai

Islamic Bank representatives in or around July 1999 concerning any individual named “Osama

bin Laden,” provided that such documents do not pertain solely to persons or entities who have

not been affiliated with al Qaida.


REQUEST NO. 23

       Please provide all documents identifying all DIB and U.A.E. officials and/or

representatives who participated in the July 1999 Meeting(s) with U.S. officials.


RESPONSE TO REQUEST NO. 23

       Dubai Islamic Bank objects to this request as overly broad, unduly burdensome, and

seeking information not relevant to a claim or defense of any party on the grounds that it is not

reasonably limited in temporal scope. Dubai Islamic Bank objects to this request as vague,

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ambiguous, unduly burdensome, and uncertain in its use of the terms “DIB and U.A.E. officials

and/or representatives” and “U.S. officials.” Dubai Islamic Bank objects to this request as overly

broad and unduly burdensome in seeking “all documents identifying all DIB and U.A.E. officials

and/or representatives.”

       Subject to and without waiving the foregoing Specific Objections and General Objections,

Dubai Islamic Bank will produce non-privileged documents, if any exist, concerning any

meeting in the U.A.E. attended by the U.S. government, the U.A.E. government, and Dubai

Islamic Bank representatives in or around July 1999 concerning any individual named “Osama

bin Laden,” provided that such documents do not pertain solely to persons or entities who have

not been affiliated with al Qaida.


REQUEST NO. 24

       Please provide all documents relating to the one-time bank transfer of approximately $50

million to Osama bin Laden through DIB, and which was specifically raised with the ruling Al

Maktoum family during the July 1999 Meeting(s). Such documents shall include, but are not

limited to, records identifying the name of the individual(s) who sent the $50 million, the bank

from which the $50 million was sent, the wire transfer number, the recipient of the funds, and the

bank account numbers of the sender and receiver.


RESPONSE TO REQUEST NO. 24

       Dubai Islamic Bank objects to this request as overly broad, unduly burdensome, and

seeking information not relevant to a claim or defense of any party on the grounds that it is not

reasonably limited in temporal scope. Dubai Islamic Bank objects to this request as vague,

ambiguous, and uncertain in its use of “one-time bank transfer of approximately $50 million to



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Osama bin Laden through DIB, and which was specifically raised with the ruling Al Maktoum

family during the July 1999 Meeting(s).”

       Subject to and without waiving the foregoing Specific Objections and General Objections,

Dubai Islamic Bank will search from January 1, 1992 to July 8, 1999 using the search term

“Osama bin Laden” in its electronic wire transfer record system to determine whether any record

contains an approximately US$50 million transaction associated with that name and, if so, Dubai

Islamic Bank will produce for that transaction the non-privileged wire transfer records, if any

exist, from January 1, 1992 to July 8, 1999. Dubai Islamic Bank also will search in the

accountholder field in its electronic account record keeping system using the search term

“Osama bin Laden” to determine whether any account has existed in that name and for any

transaction of approximately US$50 million associated with that account, Dubai Islamic Bank

will produce non-privileged records related to that transaction, if any exist, from January 1, 1992

to July 8, 1999, provided that the search for such documents does not yield a voluminous number

of documents for multiple persons with names containing a search term (in which case DIB will

be willing to meet and confer with Plaintiffs) or documents pertaining solely to persons or

entities who have not been affiliated with al Qaida.


REQUEST NO. 25

       Please provide all documents exchanged between and among the U.S., DIB and the

U.A.E. before, during, and after the July 1999 Meeting(s), relating to Osama bin Laden, al Qaida,

money laundering, and/or terrorist financing. Such documents shall include but are not limited

to, correspondence, memoranda, emails, banking and financial reports, investigative reports

and/or summaries, intelligence reports and/or summaries, terrorism reports and/or summaries,

security files, and any other records.


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RESPONSE TO REQUEST NO. 25

       Dubai Islamic Bank objects to this request as overly broad, unduly burdensome, and

seeking information not relevant to a claim or defense of any party on the grounds that it is not

reasonably limited in temporal scope. Dubai Islamic Bank objects to this request as overly broad,

unduly burdensome, uncertain, and seeking information not relevant to a claim or defense of any

party in its use of “all documents exchanged between and among the U.S., DIB and the U.A.E.

before, during, and after the July 1999 Meeting(s).” Dubai Islamic Bank objects to this request

as vague, ambiguous, unduly burdensome, overly broad, and seeking information not relevant to

a claim or defense of any party in its use of “relating to Osama bin Laden, al Qaida, money

laundering, and/or terrorist financing.”

       Subject to and without waiving the foregoing Specific Objections and General Objections,

Dubai Islamic Bank will produce non-privileged documents, if any exist, sent by Dubai Islamic

Bank to the U.S. or U.A.E. governments or received from the U.S. or U.A.E. governments

concerning the names “al Qaida,” “Osama bin Laden,” “Mustafa Ahmed al Hisawi,” “Shaykh

Sa’id,” “Mustafa Muhammed Ahmed,” “Ali Abdul Aziz Ali,” and “Ammar al Baluchi”; the

names listed on Attachments A and C of Plaintiffs’ requests; or the Request 10 Search Terms,

provided that such documents do not pertain solely to persons or entities who have not been

affiliated with al Qaida.


REQUEST NO. 26

       Please provide all documents DIB sent to, and/or received from, U.A.E. officials, relating

to the July 1999 Meeting(s) and allegations that DIB was associated with or involved in money

laundering or terrorist financing for the benefit of Osama bin Laden and/or al Qaida.




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RESPONSE TO REQUEST NO. 26

       Dubai Islamic Bank objects to this request as overly broad, unduly burdensome, and

seeking information not relevant to a claim or defense of any party on the grounds that it is not

reasonably limited in temporal scope. Dubai Islamic Bank objects to this request as vague,

ambiguous, unduly burdensome, and uncertain in its use of the terms “U.A.E. officials,” and

“relating to the July 1999 Meeting(s) and allegations that DIB was associated with or involved in

money laundering or terrorist financing for the benefit of Osama bin Laden and/or al Qaida.”

       Subject to and without waiving the foregoing Specific Objections and General Objections,

Dubai Islamic Bank will produce non-privileged correspondence, if any exists, between Dubai

Islamic Bank and the U.A.E. government relating to any July 1999 meeting involving those

parties that concerned allegations that DIB was associated with or involved in money laundering

or terrorist financing for groups or individuals with the names “al Qaida,” “Osama bin Laden,”

“Mustafa Ahmed al Hisawi,” “Shaykh Sa’id,” “Mustafa Muhammed Ahmed,” “Ali Abdul Aziz

Ali,” and “Ammar al Baluchi”; the names listed on Attachments A and C of Plaintiffs’ requests;

or the Request 10 Search Terms, provided that such documents do not pertain solely to persons

or entities who have not been affiliated with al Qaida.


REQUEST NO. 27

       Please provide all documents relating to any and all actions taken by DIB and/or the

U.A.E. following the July 1999 Meeting(s) regarding Osama bin Laden, DIB’s relationship with

Osama bin Laden, money laundering, and/or terrorist financing. Such documents shall include,

but are not limited to, procedures, protocols, standards and/or guidelines which were

implemented and used, or are currently being used, to prevent or deter financial crimes such as

money laundering or the facilitation of terrorism financing.


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RESPONSE TO REQUEST NO. 27

       Dubai Islamic Bank objects to this request as overly broad, unduly burdensome, and

seeking information not relevant to a claim or defense of any party on the grounds that it is not

reasonably limited in temporal scope. Dubai Islamic Bank objects to this request as vague,

ambiguous, overly broad, unduly burdensome, uncertain, and seeking information not relevant to

a claim or defense of any party in seeking “all documents relating to any and all actions taken by

DIB and/or the U.A.E. following the July 1999 Meeting(s) regarding Osama bin Laden, DIB’s

relationship with Osama bin Laden, money laundering, and/or terrorist financing.”          Dubai

Islamic Bank objects to this request as vague, ambiguous, overly broad, unduly burdensome, and

seeking information not relevant to a claim or defense of any party in its use of “all documents

relating to … procedures, protocols, standards and/or guidelines which were implemented and

used, or are currently being used, to prevent or deter financial crimes such as money laundering

or the facilitation of terrorism financing.”

       Subject to and without waiving the foregoing Specific Objections and General Objections,

Dubai Islamic Bank will produce non-privileged documents, if any exist, propounding Dubai

Islamic Bank policies, practices, procedures, and controls for anti-money laundering and

combating the financing of terrorism from January 1, 1992 to September 11, 2001.


REQUEST NO. 28

       Please provide all documents governing, describing, detailing or relating to the actions

taken by DIB and/or the U.A.E. with regard to the accounts that were discussed and/or the

subject of the July 1999 Meeting(s), including without limitation, all documents identifying those

accounts, the account holders, the account numbers, and the status of those accounts.




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RESPONSE TO REQUEST NO. 28

       Dubai Islamic Bank objects to this request as overly broad, unduly burdensome, and

seeking information not relevant to a claim or defense of any party on the grounds that it is not

reasonably limited in temporal scope. Dubai Islamic Bank objects to this request as vague and

ambiguous in its use of “the accounts that were discussed and/or the subject of the July 1999

Meeting(s).” Dubai Islamic Bank objects to this request as overly broad, unduly burdensome,

uncertain, and seeking information not relevant to a claim or defense of any party in seeking “all

documents governing, describing, detailing or relating to the actions taken by DIB and/or the

U.A.E. with regard to the accounts that were discussed and/or the subject of the July 1999

Meeting(s).” The information sought by this request is uncertain.


REQUEST NO. 29

       Please provide all documents relating to communications by the U.S. to DIB and/or the

U.A.E. in 1998 that DIB was providing banking and financial services to the Taliban and/or al

Qaida, including the request from the U.S. that all Taliban and/or al Qaida-related accounts at

DIB be closed. Such documents shall include, but are not limited to, correspondence, letters,

memoranda, notes, and/or e-mails, that refer to, relate to, or reflect communications between or

among the U.S., DIB and/or the U.A.E., and any banking or financial documents specifically

identifying any Taliban and/or al Qaida accounts, the account holders, the account numbers, and

the status of those accounts.


RESPONSE TO REQUEST NO. 29

       Dubai Islamic Bank objects to this request as overly broad, unduly burdensome, and

seeking information not relevant to a claim or defense of any party on the grounds that it is not

reasonably limited in temporal scope. Dubai Islamic Bank objects to this request as vague,

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ambiguous, unduly burdensome, overly broad, uncertain, and seeking information not relevant to

a claim or defense of any party in its use of “relating to communications by the U.S. to DIB

and/or the U.A.E. in 1998 that DIB was providing banking and financial services to the Taliban

and/or al Qaida,” and “any Taliban and/or al Qaida accounts.” Dubai Islamic Bank further

objects to this request as seeking information not relevant to the claim or defense of any party in

seeking information related to “the Taliban and/or al Qaida.”

       Subject to and without waiving the foregoing Specific Objections and General Objections,

Dubai Islamic Bank will produce non-privileged communications in 1998, if any exist, from the

U.S. government to Dubai Islamic Bank concerning accounts held in the names “Osama bin

Laden,” “Mustafa Ahmed al Hisawi,” “Shaykh Sa’id,” “Mustafa Muhammed Ahmed,” “Ali

Abdul Aziz Ali,” and “Ammar al Baluchi”; the names listed on Attachments A and C of

Plaintiffs’ requests; or the Request 10 Search Terms, provided that such documents do not

pertain solely to persons or entities who have not been affiliated with al Qaida.


REQUEST NO. 30

       Please provide all documents relating to the DIB-Taliban and/or al Qaida accounts

identified in response to Request No. 29. Such documents shall include, but are not limited to,

correspondence, letters, memoranda, notes, and/or e-mails, that refer to, relate to, or reflect

communications between or among the account holder(s) and DIB, documents detailing the

establishment of and/or closing of the account(s), Know-Your-Customer and/or other customer

due diligence reports, suspicious activity and/or transaction reports, account numbers, monthly

account statements, annual account statements, account notices, deposits, withdrawals, deposit

slips, check stubs, cleared or canceled checks, cashier checks, money orders, debit/credit memos,

financial ledgers, journals, investment records, real estate records, records of assets, loan records,


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audit work papers, audit reports, or wire transfers, and any documentation showing the source(s)

and/or destination(s) of any funds deposited into or withdrawn from those accounts.


RESPONSE TO REQUEST NO. 30

       Dubai Islamic Bank objects to this request as overly broad, unduly burdensome, and

seeking information not relevant to a claim or defense of any party on the grounds that it is not

reasonably limited in temporal scope. Dubai Islamic Bank objects to this request as vague,

ambiguous, unduly burdensome, overly broad, uncertain, and seeking information not relevant to

a claim or defense of any party in its use of “relating to the DIB-Taliban and/or al Qaida

accounts identified in response to Request No. 29.” Dubai Islamic Bank objects to this request

as seeking information not relevant to a claim or defense of any party in seeking information

related to “the Taliban and/or al Qaida accounts.” Dubai Islamic Bank also objects to this

request as vague and ambiguous in its use of the terms “account notices,” “financial ledgers,”

“journals,” “deposits,” “withdrawals,” and “investment records.” Dubai Islamic Bank further

objects to this request as vague and ambiguous in its use of the term “debit/credit memos.”

Dubai Islamic Bank understands that term to mean debit and credit entries on an account

statement.   Dubai Islamic Bank also objects to this request as overly broad and unduly

burdensome in seeking all “deposit slips,” “check stubs,” “cleared or canceled checks,” “cashier

checks,” and “money orders.” Dubai Islamic Bank objects to “any documentation showing the

source(s) and/or destination(s) of any funds deposited into or withdrawn from those accounts” as

vague, ambiguous, overly broad, unduly burdensome, and seeking information not relevant to a

claim or defense of any party.

       Subject to and without waiving the foregoing Specific Objections and General Objections,

if any Dubai Islamic Bank account held in the name “Osama bin Laden,” “Mustafa Ahmed al


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Hisawi,” “Shaykh Sa’id,” “Mustafa Muhammed Ahmed,” “Ali Abdul Aziz Ali,” and “Ammar al

Baluchi”; the names listed on Attachments A and C of Plaintiffs’ requests; or the Request 10

Search Terms is identified in Dubai Islamic Bank’s Response to Request No. 29, Dubai Islamic

Bank will produce for that account non-privileged account opening and closing documents,

Know-Your-Customer and/or other customer due diligence reports, suspicious activity and/or

transaction reports, account numbers, monthly account statements, annual account statements,

account notices, real estate records, records of assets, loan records, audit work papers, audit

reports, and wire transfers, if any exist, from January 1, 1992 to September 11, 2001.


REQUEST NO. 31

       Please provide all documents relating to DIB Account No. 1335. Such documents shall

include, but are not limited to, correspondence, letters, memoranda, notes, and/or e-mails, that

refer to, relate to, or reflect communications between or among Abdullah Azzam and/or the

account holder(s) and DIB, documents detailing the establishment of and/or closing of the

account(s), Know-Your-Customer and/or other customer due diligence reports, suspicious

activity and/or transaction reports, monthly account statements, annual account statements,

account notices, deposits, withdrawals, deposit slips, check stubs, cleared or canceled checks,

cashier checks, money orders, debit/credit memos, financial ledgers, journals, investment records,

real estate records, records of assets, loan records, audit work papers, audit reports, or wire

transfers, and any documentation showing the source(s) and/or destination(s) of any funds

deposited into or withdrawn from those accounts.


RESPONSE TO REQUEST NO. 31

       Dubai Islamic Bank objects to this request as overly broad, unduly burdensome, and

seeking information not relevant to a claim or defense of any party on the grounds that it is not

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reasonably limited in temporal scope. Dubai Islamic Bank objects to this request as overly broad,

unduly burdensome, and seeking information not relevant to a claim or defense of any party.

Dubai Islamic Bank further objects to this request as vague and ambiguous in its use of “all

documents relating to DIB Account No. 1335,” “financial ledgers,” “journals,” “deposits,”

“withdrawals,” and “investment records.” Dubai Islamic Bank objects to this request as vague

and ambiguous in its use of the term “debit/credit memos.” Dubai Islamic Bank understands that

term to mean debit and credit entries on an account statement. Dubai Islamic Bank also objects

to this request as overly broad and unduly burdensome in seeking all “deposit slips,” “check

stubs,” “cleared or canceled checks,” “cashier checks,” and “money orders.” Dubai Islamic

Bank objects to “any documentation showing the source(s) and/or destination(s) of any funds

deposited into or withdrawn from those accounts” as vague, ambiguous, overly broad, unduly

burdensome, and seeking information not relevant to a claim or defense of any party.


REQUEST NO. 32

       Please provide all documents relating to any written or oral communication between DIB

and the U.A.E., which references or addresses the Taliban, al Qaida, Abdullah Azzam, and any

of the accounts identified in Requests Nos. 29-31 above. Such documents shall include, but are

not limited to, correspondence, letters, memoranda, notes, emails, facsimiles or otherwise.


RESPONSE TO REQUEST NO. 32

       Dubai Islamic Bank objects to this request as overly broad, unduly burdensome, and

seeking information not relevant to a claim or defense of any party on the grounds that it is not

reasonably limited in temporal scope. Dubai Islamic Bank objects to this request as vague,

ambiguous, unduly burdensome, overly broad, uncertain, and seeking information not relevant to

a claim or defense of any party in seeking information “relating to any written or oral

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communication between DIB and the U.A.E., which references or addresses the Taliban, al

Qaida, Abdullah Azzam, and any of the accounts identified in Requests Nos. 29-31 above.”

       Subject to and without waiving the foregoing Specific Objections and General Objections,

Dubai Islamic Bank will produce non-privileged communications, if any exist, between Dubai

Islamic Bank and the U.A.E. government concerning (i) the names “al Qaida,” “Osama bin

Laden,” “Mustafa Ahmed al Hisawi,” “Shaykh Sa’id,” “Mustafa Muhammed Ahmed,” “Ali

Abdul Aziz Ali,” and “Ammar al Baluchi”; the names listed on Attachments A and C of

Plaintiffs’ requests; or the Request 10 Search Terms, or (ii) any account identified in Dubai

Islamic Bank’s response to Request No. 29, provided that such documents do not pertain solely

to persons or entities who have not been affiliated with al Qaida.


REQUEST NO. 33

       Please provide all documents, statements, interviews, press releases, internal memos, or

other materials relating to any accusation that DIB, DIB Personnel, or other persons associated

with DIB, were associated with, involved in, or supported the 1998 U.S. Embassy bombings in

Kenya and Tanzania. For purposes of this request, the term “support” includes any form of

financial, logistical, administrative or other assistance, whether provided directly or indirectly.


RESPONSE TO REQUEST NO. 33

       Dubai Islamic Bank objects to this request as overly broad, unduly burdensome, and

seeking information not relevant to a claim or defense of any party on the grounds that it is not

reasonably limited in temporal scope. Dubai Islamic Bank objects to this request as overly broad,

unduly burdensome, and seeking information not relevant to a claim or defense of any party.

Dubai Islamic Bank objects to this request as vague, ambiguous, overly broad, unduly

burdensome, uncertain, and seeking information not relevant to a claim or defense of any party

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in its use of “relating to any accusation that DIB, DIB Personnel, or other persons associated

with DIB, were associated with, involved in, or supported the 1998 U.S. Embassy bombings in

Kenya and Tanzania.”


REQUEST NO. 34

       Please provide all documents relating to any internal investigation or audit conducted by

DIB (including DIB’s Fatwa and Shariah Advisory Board), relating to any accusation that DIB,

DIB Personnel, or other persons associated with DIB, were associated with, involved in, or

supported the 1998 U.S. Embassy bombings. Such documents shall include any investigation or

audit ordered, conducted, supervised, overseen, or reviewed by the U.A.E.


RESPONSE TO REQUEST NO. 34

       Dubai Islamic Bank objects to this request as overly broad, unduly burdensome, and

seeking information not relevant to a claim or defense of any party on the grounds that it is not

reasonably limited in temporal scope. Dubai Islamic Bank objects to this request as overly broad,

unduly burdensome, and seeking information not relevant to a claim or defense of any party.

Dubai Islamic Bank objects to this request as vague, ambiguous, unduly burdensome, overly

broad, uncertain, and seeking information not relevant to a claim or defense of any party in its

use of “relating to any accusation that DIB, DIB Personnel, or other persons associated with DIB,

were associated with, involved in, or supported the 1998 U.S. Embassy bombings,” and

“reviewed by the U.A.E.”


REQUEST NO. 35

       Please provide copies of all documents that have been seized by, or that DIB has

produced to, any United States Investigator, any Foreign Investigator, or any U.A.E. Investigator,


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which references or addresses any accusation that DIB, DIB Personnel, or other persons

associated with DIB were associated with, involved in, or supported the 1998 U.S. Embassy

bombings.


RESPONSE TO REQUEST NO. 35

       Dubai Islamic Bank objects to this request as overly broad, unduly burdensome, and

seeking information not relevant to a claim or defense of any party on the grounds that it is not

reasonably limited in temporal scope. Dubai Islamic Bank objects to this request as overly broad,

unduly burdensome, and seeking information not relevant to a claim or defense of any party.

Dubai Islamic Bank objects to this request as vague, ambiguous, unduly burdensome, and overly

broad in its use of “which references or addresses any accusation that DIB, DIB Personnel, or

other persons associated with DIB were associated with, involved in, or supported the 1998 U.S.

Embassy bombings.”


REQUEST NO. 36

       Please provide all documents relating to any written or oral communication between DIB

and the U.A.E., which references or addresses any accusation that DIB, DIB Personnel, or other

persons associated with DIB were associated with, involved in, or supported the 1998 U.S.

Embassy bombings. Such documents shall include, but are not limited to, correspondence,

letters, memoranda, notes, emails, facsimiles or otherwise.


RESPONSE TO REQUEST NO. 36

       Dubai Islamic Bank objects to this request as overly broad, unduly burdensome, and

seeking information not relevant to a claim or defense of any party on the grounds that it is not

reasonably limited in temporal scope. Dubai Islamic Bank objects to this request as overly broad,


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unduly burdensome, and seeking information not relevant to the claim or defense of any party.

Dubai Islamic Bank objects to this request as vague, ambiguous, unduly burdensome, overly

broad, and seeking information not relevant to a claim or defense of any party in its use of

“relating to any written or oral communication … which references or addresses any accusation

that DIB, DIB Personnel, or other persons associated with DIB were associated with, involved in,

or supported the 1998 U.S. Embassy bombings.”


REQUEST NO. 37

       Please provide all documents governing, describing, detailing, or otherwise relating to the

seizure, freezing, closing, monitoring, or restricting of any and all DIB accounts following the

September 11, 2001 attack, including without limitation, all DIB accounts that were frozen per

the orders of the Central Bank of the U.A.E. Such documents shall include, but are not limited to,

all documents identifying those accounts, the account holders, the account numbers, and the

status of those accounts.


RESPONSE TO REQUEST NO. 37

       Dubai Islamic Bank objects to this request as overly broad, unduly burdensome, and

seeking information not relevant to a claim or defense of any party on the grounds that it is not

reasonably limited in temporal scope. Dubai Islamic Bank objects to this request as vague,

ambiguous, overly broad, unduly burdensome, and seeking information not relevant to a claim or

defense of any party in its use of “the seizure, freezing, closing, monitoring, or restricting of any

and all DIB accounts following the September 11, 2001 attack.”

       Subject to and without waiving the foregoing Specific Objections and General Objections,

Dubai Islamic Bank will produce non-privileged (i) documents, if any exist, for the time period

beginning September 11, 2001 concerning the seizure, freezing, closing, or restricting of the

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Dubai Islamic Bank account at the request of the Central Bank of the U.A.E. where such account

was held in the account name of “Osama bin Laden,” “Mustafa Ahmed al Hisawi,” “Shaykh

Sa’id,” “Mustafa Muhammed Ahmed,” “Ali Abdul Aziz Ali,” and “Ammar al Baluchi”; the

names listed on Attachments A and C of Plaintiffs’ requests; or the Request 10 Search Terms;

(ii) for the time period beginning September 11, 2001, correspondence, if any exist, between

Dubai Islamic Bank and the U.A.E. government addressing any such account; and (iii) for any

such account, the account opening and closing documents, Know-Your-Customer or other

customer due diligence reports, suspicious activity or transaction reports, account numbers,

monthly account statements, annual account statements, account notices, real estate records,

records of assets, loan records, audit work papers, audit reports, and wire transfers, if any exist,

from January 1, 1992 to September 11, 2001, provided that the search for such documents does

not yield a voluminous number of documents for multiple persons or entities with names

containing a search term (in which case Dubai Islamic Bank will be willing to meet and confer

with Plaintiffs) or documents pertaining solely to persons or entities who have not been affiliated

with al Qaida.


REQUEST NO. 38

       Please provide all documents exchanged between and among the U.S., DIB, and the

U.A.E. following the September 11, 2001 attack, relating to DIB’s relationship with Osama bin

Laden and/or other alleged members of al Qaida, including without limitation, any such

documents which reference or address any of the DIB accounts identified in response to Request

No. 37 above. Such documents shall include, but are not limited to, correspondence, memoranda,

emails, banking and financial reports, investigative reports and/or summaries, intelligence




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reports and/or summaries, terrorism reports and/or summaries, security files, and any other

records.


RESPONSE TO REQUEST NO. 38

       Dubai Islamic Bank objects to this request as overly broad, unduly burdensome, and

seeking information not relevant to a claim or defense of any party on the grounds that it is not

reasonably limited in temporal scope. Dubai Islamic Bank objects to this request as vague,

ambiguous, overly broad, unduly burdensome, uncertain, and seeking information not relevant to

a claim or defense of any party in its use of “DIB’s relationship with Osama bin Laden and/or

other alleged members of al Qaida, including without limitation, any such documents which

reference or address any of the DIB accounts identified in response to Request No. 37 above.”

Dubai Islamic Bank objects to this request as vague, ambiguous, overly broad, unduly

burdensome, and seeking information not relevant to a claim or defense of any party in its use of

“following the September 11, 2001 attack.”

       Subject to and without waiving the foregoing Specific Objections and General Objections,

Dubai Islamic Bank will produce non-privileged correspondence, if any exists, between Dubai

Islamic Bank and the U.A.E. or U.S. governments concerning any (i) relationship between the

bank and any individual named “Osama bin Laden,” “Mustafa Ahmed al Hisawi,” “Shaykh

Sa’id,” “Mustafa Muhammed Ahmed,” “Ali Abdul Aziz Ali,” or “Ammar al Baluchi”; the names

listed on Attachments A and C of Plaintiffs’ requests; or the Request 10 Search Terms; or

(ii) account identified in response to Request 37, for the time period beginning September 11,

2001, provided that the search for such documents does not yield a voluminous number of

documents for multiple persons or entities with names containing a search term (in which case




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Dubai Islamic Bank will be willing to meet and confer with Plaintiffs) or documents pertaining

solely to persons or entities who have not been affiliated with al Qaida.


REQUEST NO. 39

       Please provide all documents relating to any investigation, inquiry, review, audit, or

analysis conducted by any United States Investigator, any Foreign Investigator, or any U.A.E.

Investigator, following the September 11, 2001 attack, which references or addresses any of the

DIB accounts identified in response to Request No. 37 above.


RESPONSE TO REQUEST NO. 39

       Dubai Islamic Bank objects to this request as overly broad, unduly burdensome, and

seeking information not relevant to a claim or defense of any party on the grounds that it is not

reasonably limited in temporal scope. Dubai Islamic Bank objects to this request as overly broad,

unduly burdensome, and seeking information not relevant to a claim or defense of any party.

Dubai Islamic Bank objects to this request as vague, ambiguous, overly broad, unduly

burdensome, and seeking information not relevant to a claim or defense of any party in its use of

“all documents relating to any investigation, inquiry, review, audit, or analysis conducted by any

United States Investigator, any Foreign Investigator, or any U.A.E. Investigator, following the

September 11, 2001 attack, which references or addresses any of the DIB accounts identified in

response to Request No. 37 above.”

       Subject to and without waiving the foregoing Specific Objections and General Objections,

Dubai Islamic Bank will produce non-privileged reports, if any exist, of any investigation,

inquiry, review, audit, or analysis conducted by any Government Investigator of any Dubai

Islamic Bank account identified in Dubai Islamic Bank’s Response to Request No. 37 for the

time period beginning September 11, 2001, provided that the search for such documents does not

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yield a voluminous number of documents for multiple persons or entities with names containing

a search term (in which case Dubai Islamic Bank will be willing to meet and confer with

Plaintiffs) or documents pertaining solely to persons or entities who have not been affiliated with

al Qaida.


REQUEST NO. 40

         Please provide copies of all documents that have been seized by, or that DIB has

produced to, any United States Investigator, any Foreign Investigator, or any U.A.E. Investigator,

which reference or address any of the DIB accounts identified in response to Request No. 37

above.


RESPONSE TO REQUEST NO. 40

         Dubai Islamic Bank objects to this request as overly broad, unduly burdensome, and

seeking information not relevant to a claim or defense of any party on the grounds that it is not

reasonably limited in temporal scope. Dubai Islamic Bank objects to this request as overly broad,

unduly burdensome, and seeking information not relevant to a claim or defense of any party.

Dubai Islamic Bank objects to this request as vague, ambiguous, overly broad, unduly

burdensome, and seeking information not relevant to a claim or defense of any party in its use of

“all documents that have been seized by, or that DIB has produced to, any United States

Investigator, any Foreign Investigator, or any U.A.E. Investigator, which reference or address

any of the DIB accounts identified in response to Request No. 37 above.”

         Subject to and without waiving the foregoing Specific Objections and General Objections,

Dubai Islamic Bank will produce a non-privileged copy of each document Dubai Islamic Bank

produced to any Government Investigator, if any exists, concerning any Dubai Islamic Bank

account identified in Dubai Islamic Bank’s Response to Request No. 37 for the time period

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beginning September 11, 2001, provided that the search for such documents does not yield a

voluminous number of documents for multiple persons or entities with names containing a

search term (in which case Dubai Islamic Bank will be willing to meet and confer with Plaintiffs)

or documents pertaining solely to persons or entities who have not been affiliated with al Qaida.


REQUEST NO. 41

       Please provide all documents relating to any audit, analysis, examination, survey, or

review of the DIB accounts identified in response to Request No. 37 above, conducted either by

DIB (including DIB’s Fatwa and Shariah Advisory Board), or any third party, including but not

limited to, any bank, financial institution, government agency, accountant, or auditor. Such

documents shall include any audit, analysis, examination, survey, or review ordered, conducted,

supervised, overseen, or reviewed by the U.A.E.


RESPONSE TO REQUEST NO. 41

       Dubai Islamic Bank objects to this request as overly broad, unduly burdensome, and

seeking information not relevant to a claim or defense of any party on the grounds that it is not

reasonably limited in temporal scope. Dubai Islamic Bank objects to this request as overly broad,

unduly burdensome, and seeking information not relevant to a claim or defense of any party.

Dubai Islamic Bank objects to this request as vague, ambiguous, overly broad, unduly

burdensome, and seeking information not relevant to a claim or defense of any party in its use of

“all documents relating to any audit, analysis, examination, survey, or review of the DIB

accounts identified in response to Request No. 37 above, conducted either by DIB (including

DIB’s Fatwa and Shariah Advisory Board), or any third party, including but not limited to, any

bank, financial institution, government agency, accountant, or auditor.” Dubai Islamic Bank



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objects to this request as vague, ambiguous, unduly burdensome, and uncertain in its use of the

terms “reviewed by the U.A.E.”

       Subject to and without waiving the foregoing Specific Objections and General Objections,

Dubai Islamic Bank will produce non-privileged reports, if any exist, of any audit, analysis,

examination, survey, or review conducted by Dubai Islamic Bank or any third party of any Dubai

Islamic Bank account identified in Dubai Islamic Bank’s Response to Request No. 37 for the

time period beginning September 11, 2001, provided that the search for such documents does not

yield a voluminous number of documents for multiple persons or entities with names containing

a search term (in which case Dubai Islamic Bank will be willing to meet and confer with

Plaintiffs) or documents pertaining solely to persons or entities who have not been affiliated with

al Qaida.


REQUEST NO. 42

       Please provide all documents relating to any written or oral communication between DIB

and the U.A.E., which references or addresses any of the DIB accounts identified in response to

Request No. 37 above. Such documents shall include, but are not limited to, correspondence,

letters, memoranda, notes, emails, facsimiles, or otherwise.


RESPONSE TO REQUEST NO. 42

       Dubai Islamic Bank objects to this request as overly broad, unduly burdensome, and

seeking information not relevant to a claim or defense of any party on the grounds that it is not

reasonably limited in temporal scope. Dubai Islamic Bank objects to this request as overly broad,

unduly burdensome, and seeking information not relevant to a claim or defense of any party.

Dubai Islamic Bank objects to this request as vague, ambiguous, overly broad, unduly

burdensome, and seeking information not relevant to a claim or defense of any party in its use of

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“all documents relating to any written or oral communication between DIB and the U.A.E.,

which references or addresses any of the DIB accounts identified in response to Request No. 37

above.”

       Subject to and without waiving the foregoing Specific Objections and General Objections,

Dubai Islamic Bank will produce non-privileged correspondence, if any exists, between Dubai

Islamic Bank and the U.A.E. concerning any Dubai Islamic Bank account identified in Dubai

Islamic Bank’s Response to Request No. 37 for the time period beginning September 11, 2001,

provided that the search for such documents does not yield a voluminous number of documents

for multiple persons or entities with names containing a search term (in which case Dubai

Islamic Bank will be willing to meet and confer with Plaintiffs) or documents pertaining solely

to persons or entities who have not been affiliated with al Qaida.


REQUEST NO. 43

       Please provide all documents relating to any investigation, inquiry, audit, due diligence,

or analysis conducted by the U.A.E., relating in any way to DIB.


RESPONSE TO REQUEST NO. 43

       Dubai Islamic Bank objects to this request as overly broad, unduly burdensome, and

seeking information not relevant to a claim or defense of any party on the grounds that it is not

reasonably limited in temporal scope. Dubai Islamic Bank objects to this request as overly broad,

unduly burdensome, and seeking information not relevant to a claim or defense of any party.

Dubai Islamic Bank objects to this request as vague, ambiguous, overly broad, unduly

burdensome, and seeking information not relevant to a claim or defense of any party in its use of

“relating in any way to DIB.”



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       Subject to and without waiving the foregoing Specific Objections and General Objections,

Dubai Islamic Bank will produce non-privileged reports, if any exist, of any investigation,

inquiry, audit, due diligence, or analysis conducted by the U.A.E. of Dubai Islamic Bank

concerning the persons or entities with the names “al Qaida,” “Osama bin Laden,” “Mustafa

Ahmed al Hisawi,” “Shaykh Sa’id,” “Mustafa Muhammed Ahmed,” “Ali Abdul Aziz Ali,” and

“Ammar al Baluchi”; the names listed on Attachments A and C of Plaintiffs’ requests; or the

Request 10 Search Terms provided that the search for such documents does not yield documents

pertaining solely to persons or entities who have not been affiliated with al Qaida.


REQUEST NO. 44

       Please provide all documents relating to all accounts at DIB that have been seized, frozen,

closed, monitored, or in any way restricted due to identification or suspicion that the account is

related to actual, potential, suspected, or alleged terrorists, or terrorist organizations or entities,

including without limitation, all documents referring or relating to the reasons or basis for the

freezing, seizing, closing, monitoring, or restricting of the accounts.


RESPONSE TO REQUEST NO. 44

       Dubai Islamic Bank objects to this request as overly broad, unduly burdensome, and

seeking information not relevant to a claim or defense of any party on the grounds that it is not

reasonably limited in temporal scope. Dubai Islamic Bank objects to this request as overly broad,

unduly burdensome, and seeking information not relevant to a claim or defense of any party.

Dubai Islamic Bank objects to this request as vague, ambiguous, overly broad, unduly

burdensome, and seeking information not relevant to a claim or defense of any party in its use of

“all accounts at DIB that have been seized, frozen, closed, monitored, or in any way restricted



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due to identification or suspicion that the account is related to actual, potential, suspected, or

alleged terrorists, or terrorist organizations or entities.”

        Subject to and without waiving the foregoing Specific Objections and General Objections,

Dubai Islamic Bank will produce non-privileged documents, if any exist, concerning any Dubai

Islamic Bank account that has been seized, frozen, closed, monitored, or in any way restricted

because the account was identified as related to the persons or entities with the names “Osama

bin Laden,” “Mustafa Ahmed al Hisawi,” “Shaykh Sa’id,” “Mustafa Muhammed Ahmed,” “Ali

Abdul Aziz Ali,” and “Ammar al Baluchi”; the names listed on Attachments A and C of

Plaintiffs’ requests; or the Request 10 Search Terms, provided that the search for such

documents does not yield documents pertaining solely to persons or entities who have not been

affiliated with al Qaida.


REQUEST NO. 45

        Please provide all documents relating to any guidance, advice, direction, directives,

instructions, circulars or recommendations provided, disseminated, published, issued, or

transmitted by any department, agency, or ministry of the government of the U.A.E., the United

States, or any other governmental entity to DIB concerning anti-money laundering, terrorist

financing, investigating, monitoring, detecting or reporting of suspicious activity, or dealing in

any way with Politically Exposed Persons.


RESPONSE TO REQUEST NO. 45

        Dubai Islamic Bank objects to this request as overly broad, unduly burdensome, and

seeking information not relevant to a claim or defense of any party on the grounds that it is not

reasonably limited in temporal scope. Dubai Islamic Bank objects to this request as overly broad,

unduly burdensome, and seeking information not relevant to a claim or defense of any party.

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Dubai Islamic Bank objects to this request as vague and ambiguous in its use of “suspicious

activity.”

        Subject to and without waiving the foregoing Specific Objections and General Objections,

Dubai Islamic Bank will produce non-privileged guidance, advice, direction, directives,

instructions, circulars or recommendations, if any exist, from the U.A.E., U.S. government, or

other foreign governments to Dubai Islamic Bank concerning anti-money laundering, terrorist

financing, investigating, monitoring, detecting or reporting of suspicious account or transaction

activity from January 1, 1992 to September 11, 2001.


REQUEST NO. 46

        Please provide any and all documents governing, describing, detailing, or otherwise

relating to the relationship between DIB and Sheikh Yousef al Qaradawi, including without

limitation, any and all documents relating to all positions Qaradawi has held or holds within DIB.


RESPONSE TO REQUEST NO. 46

        Dubai Islamic Bank objects to this request as overly broad, unduly burdensome, and

seeking information not relevant to a claim or defense of any party on the grounds that it is not

reasonably limited in temporal scope. Dubai Islamic Bank objects to this request as overly broad,

unduly burdensome, and seeking information not relevant to a claim or defense of any party.


REQUEST NO. 47

        Please provide any and all documents relating to Qaradawi’s role in the establishment,

oversight, supervision, management, and/or control over DIB’s various boards and committees,

including without limitation, DIB’s Fatwa and Shariah Supervisory Board.




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RESPONSE TO REQUEST NO. 47

       Dubai Islamic Bank objects to this request as overly broad, unduly burdensome, and

seeking information not relevant to a claim or defense of any party on the grounds that it is not

reasonably limited in temporal scope. Dubai Islamic Bank objects to this request as overly broad,

unduly burdensome, and seeking information not relevant to a claim or defense of any party.

Dubai Islamic Bank objects to this request as vague and ambiguous in its use of “DIB’s various

boards and committees,” and “DIB’s Fatwa and Shariah Supervisory Board.”


REQUEST NO. 48

       Please provide any and all documents relating to the establishment, duties, obligations,

objectives, composition, and/or authority of DIB’s Fatwa and Shariah Supervisory Board,

including without limitation, any and all documents identifying all former and current members

of DIB’s Fatwa and Shariah Supervisory Board.


RESPONSE TO REQUEST NO. 48

       Dubai Islamic Bank objects to this request as overly broad, unduly burdensome, and

seeking information not relevant to a claim or defense of any party on the grounds that it is not

reasonably limited in temporal scope. Dubai Islamic Bank objects to this request as overly broad,

unduly burdensome, and seeking information not relevant to a claim or defense of any party.

Dubai Islamic Bank objects to this request as vague and ambiguous in its use of “DIB’s Fatwa

and Shariah Supervisory Board.”


REQUEST NO. 49

       Please provide any and all documents relating to the role or roles of Qaradawi and/or the

Fatwa and Shariah Supervisory Board in the establishment, organization, funding, oversight,


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supervision, management, and/or control over DIB’s operations, including without limitation,

selection of board members, committee members or other officers, internal and external auditing

or due diligence, credit and loan activities, appointment and termination of personnel, accounting,

banking and financial transactions, analysis of investments funds and portfolios, and actual

distribution of DIB financial and non-monetary support to charitable designees.


RESPONSE TO REQUEST NO. 49

       Dubai Islamic Bank objects to this request as overly broad, unduly burdensome, and

seeking information not relevant to a claim or defense of any party on the grounds that it is not

reasonably limited in temporal scope. Dubai Islamic Bank objects to this request as overly broad,

unduly burdensome, and seeking information not relevant to a claim or defense of any party.

Dubai Islamic Bank objects to this request as vague and ambiguous in its use of “DIB’s Fatwa

and Shariah Supervisory Board.”


REQUEST NO. 50

       Please provide any and all documents relating to the role or roles of Qaradawi and/or the

Fatwa and Shariah Supervisory Board in developing Islamic banking products for DIB, as well

as designing and implementing Shariah training programs for DIB.


RESPONSE TO REQUEST NO. 50

       Dubai Islamic Bank objects to this request as overly broad, unduly burdensome, and

seeking information not relevant to a claim or defense of any party on the grounds that it is not

reasonably limited in temporal scope. Dubai Islamic Bank objects to this request as overly broad,

unduly burdensome, and seeking information not relevant to a claim or defense of any party.




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Dubai Islamic Bank objects to this request as vague and ambiguous in its use of “DIB’s Fatwa

and Shariah Supervisory Board.”


REQUEST NO. 51

       Please provide any and all documents relating to the role or roles of Qaradawi and/or the

Fatwa and Shariah Supervisory Board in the supervision, management, control of, or distribution

of DIB’s funds, including without limitation, any and all documents relating to their duties and

responsibilities to determine and/or make recommendations as to which individuals or entities

should receive financial and/or non-monetary support from DIB and the purpose for such

disbursements.


RESPONSE TO REQUEST NO. 51

       Dubai Islamic Bank objects to this request as overly broad, unduly burdensome, and

seeking information not relevant to a claim or defense of any party on the grounds that it is not

reasonably limited in temporal scope. Dubai Islamic Bank objects to this request as overly broad,

unduly burdensome, and seeking information not relevant to a claim or defense of any party.

Dubai Islamic Bank objects to this request as vague and ambiguous in its use of “DIB’s Fatwa

and Shariah Supervisory Board.”


REQUEST NO. 52

       Please provide any and all documents relating to the role or roles of Qaradawi and/or the

Fatwa and Shariah Supervisory Board in determining and/or recommending which charities,

humanitarian organizations, or dawah organizations should receive financial and/or non-

monetary support from DIB and the purpose for such disbursements.




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RESPONSE TO REQUEST NO. 52

       Dubai Islamic Bank objects to this request as overly broad, unduly burdensome, and

seeking information not relevant to a claim or defense of any party on the grounds that it is not

reasonably limited in temporal scope. Dubai Islamic Bank objects to this request as overly broad,

unduly burdensome, and seeking information not relevant to a claim or defense of any party.

Dubai Islamic Bank objects to this request as vague and ambiguous in its use of “DIB’s Fatwa

and Shariah Supervisory Board.”


REQUEST NO. 53

       Please provide any and all Fatwa and Shariah Supervisory Board documents governing,

describing, detailing, or otherwise relating to DIB’s policies and procedures regarding zakat and

haram monies, including the collection and distribution of such monies to charitable or other

designees.


RESPONSE TO REQUEST NO. 53

       Dubai Islamic Bank objects to this request as overly broad, unduly burdensome, and

seeking information not relevant to a claim or defense of any party on the grounds that it is not

reasonably limited in temporal scope. Dubai Islamic Bank objects to this request as overly broad,

unduly burdensome, and seeking information not relevant to a claim or defense of any party.

Dubai Islamic Bank objects to this request as vague and ambiguous in its use of “DIB’s Fatwa

and Shariah Supervisory Board.”


REQUEST NO. 54

       Please provide all Fatwa and Shariah Supervisory Board meeting minutes.




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RESPONSE TO REQUEST NO. 54

       Dubai Islamic Bank objects to this request as overly broad, unduly burdensome, and

seeking information not relevant to a claim or defense of any party on the grounds that it is not

reasonably limited in temporal scope. Dubai Islamic Bank objects to this request as overly broad,

unduly burdensome, and seeking information not relevant to a claim or defense of any party.

Dubai Islamic Bank objects to this request as vague and ambiguous in its use of “DIB’s Fatwa

and Shariah Supervisory Board.”


REQUEST NO. 55

       Please provide all fatwas authored and/or issued by the Fatwa and Shariah Supervisory

Board, including without limitation, any and all books or compilations of fatwas authored and/or

issued by the Fatwa and Shariah Supervisory Board.


RESPONSE TO REQUEST NO. 55

       Dubai Islamic Bank objects to this request as overly broad, unduly burdensome, and

seeking information not relevant to a claim or defense of any party on the grounds that it is not

reasonably limited in temporal scope. Dubai Islamic Bank objects to this request as overly broad,

unduly burdensome, and seeking information not relevant to a claim or defense of any party.

Dubai Islamic Bank objects to this request as vague and ambiguous in its use of “DIB’s Fatwa

and Shariah Supervisory Board.”


REQUEST NO. 56

       Please provide all annual reports authored and/or prepared by the Fatwa and Shariah

Supervisory Board.




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RESPONSE TO REQUEST NO. 56

       Dubai Islamic Bank objects to this request as overly broad, unduly burdensome, and

seeking information not relevant to a claim or defense of any party on the grounds that it is not

reasonably limited in temporal scope. Dubai Islamic Bank objects to this request as overly broad,

unduly burdensome, and seeking information not relevant to a claim or defense of any party.

Dubai Islamic Bank objects to this request as vague and ambiguous in its use of “DIB’s Fatwa

and Shariah Supervisory Board.”


REQUEST NO. 57

       Please provide all documents governing, describing, detailing, or otherwise relating to the

Fatwa and Shariah Supervisory Board’s oversight, supervision, management, control, or

influence over DIB’s branch offices. Such documents shall include, but are not limited to,

correspondence, memoranda, e-mails, meeting minutes, organizational diagrams and charts, and

any reports sent to and/or received from the branch offices (banking and financial reports, status

reports, auditing reports, shariah compliance reports, due diligence reports, or otherwise).


RESPONSE TO REQUEST NO. 57

       Dubai Islamic Bank objects to this request as overly broad, unduly burdensome, and

seeking information not relevant to a claim or defense of any party on the grounds that it is not

reasonably limited in temporal scope. Dubai Islamic Bank objects to this request as overly broad,

unduly burdensome, and seeking information not relevant to a claim or defense of any party.

Dubai Islamic Bank objects to this request as vague and ambiguous in its use of “DIB’s Fatwa

and Shariah Supervisory Board” and “influence over DIB’s branch offices.”




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REQUEST NO. 58

       Please provide any and all Fatwa and Shariah Supervisory Board documents relating to

the conflicts, crises, or conditions facing Muslim communities in Afghanistan, Albania, Algeria,

Bosnia & Herzegovina, Chechnya, Egypt, Ethiopia, Europe, Indonesia, Kashmir, Kenya, Kosovo,

Malaysia, Pakistan, Palestine, the Philippines, Sudan, Somalia, Tanzania, and Turkey. Such

documents shall include, but are not limited to, any and all fatwas issued by the Fatwa and

Shariah Supervisory Board.


RESPONSE TO REQUEST NO. 58

       Dubai Islamic Bank objects to this request as overly broad, unduly burdensome, and

seeking information not relevant to a claim or defense of any party on the grounds that it is not

reasonably limited in temporal scope. Dubai Islamic Bank objects to this request as overly broad,

unduly burdensome, and seeking information not relevant to a claim or defense of any party.

Dubai Islamic Bank objects to this request as vague and ambiguous in its use of “DIB’s Fatwa

and Shariah Supervisory Board.” Dubai Islamic Bank objects to this request as overly broad,

unduly burdensome, vague, and ambiguous in its use of “the conflicts, crises, or conditions

facing Muslim communities in Afghanistan, Albania, Algeria, Bosnia & Herzegovina, Chechnya,

Egypt, Ethiopia, Europe, Indonesia, Kashmir, Kenya, Kosovo, Malaysia, Pakistan, Palestine, the

Philippines, Sudan, Somalia, Tanzania, and Turkey.”


REQUEST NO. 59

       Please provide any and all interviews, statements or speeches by members of the Fatwa

and Shariah Supervisory Board regarding the conflicts, crises or conditions facing Muslim

communities in Afghanistan, Albania, Algeria, Bosnia & Herzegovina, Chechnya, Egypt,

Ethiopia, Europe, Indonesia, Kashmir, Kenya, Kosovo, Malaysia, Pakistan, Palestine, the

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Philippines, Sudan, Somalia, Tanzania, and Turkey. Such documents shall include, but are not

limited to, any and all fatwas issued by members of the Fatwa and Shariah Supervisory Board.


RESPONSE TO REQUEST NO. 59

       Dubai Islamic Bank objects to this request as overly broad, unduly burdensome, and

seeking information not relevant to a claim or defense of any party on the grounds that it is not

reasonably limited in temporal scope. Dubai Islamic Bank objects to this request as overly broad,

unduly burdensome, and seeking information not relevant to a claim or defense of any party.

Dubai Islamic Bank objects to this request as vague and ambiguous in its use of “DIB’s Fatwa

and Shariah Supervisory Board.” Dubai Islamic Bank objects to this request as overly broad,

unduly burdensome, vague, and ambiguous in its use of “the conflicts, crises, or conditions

facing Muslim communities in Afghanistan, Albania, Algeria, Bosnia & Herzegovina, Chechnya,

Egypt, Ethiopia, Europe, Indonesia, Kashmir, Kenya, Kosovo, Malaysia, Pakistan, Palestine, the

Philippines, Sudan, Somalia, Tanzania, and Turkey.”


REQUEST NO. 60

       Please provide any and all Fatwa and Shariah Supervisory Board documents discussing

Islamic independence movements and/or the legitimacy of armed jihad or resistance by Muslims

in Afghanistan, Albania, Algeria, Bosnia & Herzegovina, Chechnya, Egypt, Ethiopia, Europe,

Indonesia, Kashmir, Kenya, Kosovo, Malaysia, Pakistan, Palestine, the Philippines, Sudan,

Somalia, Tanzania, and Turkey. Such documents shall include, but are not limited to, any and all

fatwas issued by the Fatwa and Shariah Supervisory Board.




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RESPONSE TO REQUEST NO. 60

       Dubai Islamic Bank objects to this request as overly broad, unduly burdensome, and

seeking information not relevant to a claim or defense of any party on the grounds that it is not

reasonably limited in temporal scope. Dubai Islamic Bank objects to this request as overly broad,

unduly burdensome, and seeking information not relevant to a claim or defense of any party.

Dubai Islamic Bank objects to this request as vague and ambiguous in its use of “DIB’s Fatwa

and Shariah Supervisory Board.” Dubai Islamic Bank objects to this request as overly broad,

unduly burdensome, vague, and ambiguous in its use of “Islamic independence movements

and/or the legitimacy of armed jihad or resistance by Muslims in Afghanistan, Albania, Algeria,

Bosnia & Herzegovina, Chechnya, Egypt, Ethiopia, Europe, Indonesia, Kashmir, Kenya, Kosovo,

Malaysia, Pakistan, Palestine, the Philippines, Sudan, Somalia, Tanzania, and Turkey.”


REQUEST NO. 61

       Please provide any and all Fatwa and Shariah Supervisory Board documents discussing

the provision of support to mujahideen forces in any part of the World. For purposes of this

request, the term “support” includes any form of financial, medical, logistical, administrative,

religious, political or any other form of assistance, whether provided directly or indirectly. Such

documents shall include, but are not limited to, any and all fatwas issued by the Fatwa and

Shariah Supervisory Board.


RESPONSE TO REQUEST NO. 61

       Dubai Islamic Bank objects to this request as overly broad, unduly burdensome, and

seeking information not relevant to a claim or defense of any party on the grounds that it is not

reasonably limited in temporal scope. Dubai Islamic Bank objects to this request as overly broad,

unduly burdensome, and seeking information not relevant to a claim or defense of any party.

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Dubai Islamic Bank objects to this request as vague and ambiguous in its use of “DIB’s Fatwa

and Shariah Supervisory Board.” Dubai Islamic Bank objects to this request as overly broad,

unduly burdensome, vague, and ambiguous in its use of “mujahideen forces in any part of the

World” and “logistical, administrative, religious, political or any other form of assistance,

whether provided directly or indirectly.”


REQUEST NO. 62

       Please provide any and all Fatwa and Shariah Supervisory Board documents discussing

the provision of support to any armed jihad in any part of the World, regardless of whether such

jihad was declared legitimate by competent religious authorities. For purposes of this request,

the term “support” includes any form of financial, medical, logistical, administrative, religious,

political or any other form of assistance, whether provided directly or indirectly.         Such

documents shall include, but are not limited to, any and all fatwas issued by the Fatwa and

Shariah Supervisory Board.


RESPONSE TO REQUEST NO. 62

       Dubai Islamic Bank objects to this request as overly broad, unduly burdensome, and

seeking information not relevant to a claim or defense of any party on the grounds that it is not

reasonably limited in temporal scope. Dubai Islamic Bank objects to this request as overly broad,

unduly burdensome, and seeking information not relevant to a claim or defense of any party.

Dubai Islamic Bank objects to this request as vague and ambiguous in its use of “DIB’s Fatwa

and Shariah Supervisory Board.” Dubai Islamic Bank objects to this request as overly broad,

unduly burdensome, vague, and ambiguous in its use of “any armed jihad in any part of the

World,” and “logistical, administrative, religious, political or any other form of assistance,

whether provided directly or indirectly.”

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REQUEST NO. 63

       Please provide any and all Fatwa and Shariah Supervisory Board documents mentioning

“jihad” (‫( )ﺟﻬﺎد‬see Definition No. 12), which can be generated via an electronic search of DIB’s

computers or electronic data storage systems.


RESPONSE TO REQUEST NO. 63

       Dubai Islamic Bank objects to this request as overly broad, unduly burdensome, and

seeking information not relevant to a claim or defense of any party on the grounds that it is not

reasonably limited in temporal scope. Dubai Islamic Bank objects to this request as overly broad,

unduly burdensome, and seeking information not relevant to a claim or defense of any party.

Dubai Islamic Bank objects to this request as vague and ambiguous in its use of “DIB’s Fatwa

and Shariah Supervisory Board” and “mentioning ‘jihad’ (‫( )ﺟﻬﺎد‬see Definition No. 12), which

can be generated via an electronic search of DIB’s computers or electronic data storage

systems.”


REQUEST NO. 64

       Please provide any and all fatwas issued by members of DIB’s Fatwa and Shariah

Supervisory Board which mention “jihad” (‫( )ﺟﻬﺎد‬see Definition No. 12), regardless of whether

you believe such board member(s) was or was not acting within the scope of his employment at

DIB in relation to such activity.


RESPONSE TO REQUEST NO. 64

       Dubai Islamic Bank objects to this request as overly broad, unduly burdensome, and

seeking information not relevant to a claim or defense of any party on the grounds that it is not

reasonably limited in temporal scope. Dubai Islamic Bank objects to this request as overly broad,

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unduly burdensome, and seeking information not relevant to a claim or defense of any party.

Dubai Islamic Bank objects to this request as vague and ambiguous in its use of “DIB’s Fatwa

and Shariah Supervisory Board” and “which mention ‘jihad’ (‫( )ﺟﻬﺎد‬see Definition No. 12).”


REQUEST NO. 65

       Please provide all documents governing, describing, detailing, setting forth, or otherwise

relating to DIB’s policies, practices, procedures, and controls for anti-money laundering (“AML”)

and combating the financing of terrorism (“CFT”), including without limitation:


       a.     All AML/CFT compliance manual(s), memoranda or other documents identifying

              or describing DIB’s AML/CFT policies, practices, procedures, or controls;

              memoranda or other documents identifying or describing exceptions to DIB’s

              AML/CFT policies, practices, procedures, or controls set forth in any compliance

              manual; memoranda or other documents stating or describing the manner and

              degree in which DIB’s AML/CFT compliance program is integrated into the

              bank’s activities;

       b.     All reports, audits, memoranda, or other documents evaluating, critiquing,

              commenting upon or offering suggestions to modify or enhance DIB’s AML/CFT

              compliance program;

       c.     All documents created to respond to, or in response to, items referenced in the

              preceding item (b);

       d.     All documents governing, describing, detailing, setting forth or otherwise relating

              to DIB’s policies, practices, procedures, or controls concerning what due

              diligence to employ to detect, investigate, and respond to high-risk wire transfers;



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       e.      All documents relating to the designation of one or more compliance officers

               and/or other individuals at DIB responsible for coordinating and monitoring day-

               to-day compliance, employee training, and the independent audit function to

               assess AML/CFT programs, including without limitation the identification, titles,

               and responsibilities of such individuals.


RESPONSE TO REQUEST NO. 65

       Dubai Islamic Bank objects to this request as overly broad, unduly burdensome, and

seeking information not relevant to a claim or defense of any party on the grounds that it is not

reasonably limited in temporal scope. Dubai Islamic Bank objects to this request as vague and

ambiguous in its use of “high-risk wire transfers.” Dubai Islamic Bank also objects to this

request as vague, ambiguous, overly broad, unduly burdensome, and seeking information not

relevant to a claim or defense of any party in its use of the term “otherwise relating to DIB’s

policies, practices, procedures, and controls for anti-money laundering (“AML”) and combating

the financing of terrorism (“CFT”).”

       Subject to and without waiving the foregoing Specific Objections and General Objections,

Dubai Islamic Bank will produce non-privileged documents, if any exist, propounding Dubai

Islamic Bank policies, practices, procedures, and controls for anti-money laundering and

combating the financing of terrorism from January 1, 1992 to September 11, 2001.


REQUEST NO. 66

       Please provide all documents governing, describing, detailing, setting forth, or otherwise

relating to DIB’s policies, practices, procedures, and controls aimed at preventing terrorists and

other criminals from having access to bank accounts or wire transfer services for moving funds,

and to detect such misuse when it occurs.

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RESPONSE TO REQUEST NO. 66

       Dubai Islamic Bank objects to this request as overly broad, unduly burdensome, and

seeking information not relevant to a claim or defense of any party on the grounds that it is not

reasonably limited in temporal scope. Dubai Islamic Bank objects to this request as vague and

ambiguous in its use of “otherwise relating to DIB’s policies, practices, procedures, and

controls.” Dubai Islamic Bank understands this phrase in this context to mean propounding

Dubai Islamic Bank’s policies, practices, procedures, and controls aimed at preventing terrorists

and other criminals from having access to bank accounts or wire transfer services for moving

funds, and to detect such misuse when it occurs.

       Subject to and without waiving the foregoing Specific Objections and General Objections,

Dubai Islamic Bank will produce responsive non-privileged documents, if any exist, from

January 1, 1992 to September 11, 2001.


REQUEST NO. 67

       Please provide all documents governing, describing, detailing, setting forth, or otherwise

relating to DIB’s policies, practices, procedures, and controls regarding internal monitoring

and/or reporting of wire transfers, including:


       a.      Internal monitoring and/or reporting documents concerning wire transfers,

               incomplete originator information, high risk transactions and/or indications of

               possible money laundering or terrorist financing; and

       b.      Internal monitoring and/or reporting documents concerning what action was taken

               upon identification of instances of incomplete originator information, high risk

               transactions, and/or indications of possible money laundering or terrorist

               financing.

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RESPONSE TO REQUEST NO. 67

       Dubai Islamic Bank objects to this request as overly broad, unduly burdensome, and

seeking information not relevant to a claim or defense of any party on the grounds that it is not

reasonably limited in temporal scope. Dubai Islamic Bank objects to this request as vague,

ambiguous, overly broad, unduly burdensome, and seeking information not relevant to a claim or

defense of any party in its use of “otherwise relating to DIB’s policies, practices, procedures, and

controls.” Dubai Islamic Bank objects to this request as vague and ambiguous in its use of

“internal monitoring and/or reporting documents,” “high risk transactions,” and “ indications of

possible money laundering or terrorist financing.”

       Subject to and without waiving the foregoing Specific Objections and General Objections,

Dubai Islamic Bank will produce non-privileged documents, if any exist, propounding Dubai

Islamic Bank’s policies, practices, procedures, and controls regarding internal monitoring or

reporting of wire transfers from January 1, 1992 to September 11, 2001.


REQUEST NO. 68

       Please provide all documents governing, describing, detailing, setting forth, or otherwise

relating to DIB’s Know-Your-Customer or Customer Identification policy, practices, procedures,

or programs.


RESPONSE TO REQUEST NO. 68

       Dubai Islamic Bank objects to this request as overly broad, unduly burdensome, and

seeking information not relevant to a claim or defense of any party on the grounds that it is not

reasonably limited in temporal scope. Dubai Islamic Bank objects to this request as vague,

ambiguous, overly broad, unduly burdensome, and seeking information not relevant to a claim or

defense of any party in its use of “otherwise relating to DIB’s … policy, practices, procedures, or

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programs.” Dubai Islamic Bank also objects to this request as vague and ambiguous in its use of

“Customer Identification.”

       Subject to and without waiving the foregoing Specific Objections and General Objections,

Dubai Islamic Bank will produce non-privileged documents, if any exist, governing, describing,

detailing, setting forth, or propounding Dubai Islamic Bank’s Know-Your-Customer policies,

practices, procedures, or programs from January 1, 1992 to September 11, 2001.


REQUEST NO. 69

       Please provide all DIB documents governing, describing, detailing, setting forth, or

otherwise relating to account opening policies, practices and procedures at DIB, including

without limitation:


       a.      Copies of the Account Opening applications used by DIB during the relevant time

               period;

       b.      Copies of all manuals, instruction booklets or procedures outlining the

               information to be obtained and verified before an account may be opened, and

       c.      All account opening documents for any account maintained by or for the benefit

               of: Osama bin Laden, Mustafa Ahmed al Hisawi, Ali Abdul Aziz Ali, the 9-11

               Hijackers, and the persons and entities identified in Attachments B and C.


RESPONSE TO REQUEST NO. 69

       Dubai Islamic Bank objects to this request as overly broad, unduly burdensome, and

seeking information not relevant to a claim or defense of any party on the grounds that it is not

reasonably limited in temporal scope. Dubai Islamic Bank objects to this request as vague,

ambiguous, overly broad, unduly burdensome, and seeking information not relevant to a claim or


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defense of any party in its use of “otherwise relating to … policies, practices, procedures, or

programs.”    Dubai Islamic Bank further objects to this request as seeking information not

relevant to a claim or defense of any party to the extent it seeks information concerning “Saidi

Madani al Tayyib (a/k/a Sidi al Madani al Ghazi Mustafa al Tayyib; a/k/a Sayed Tayib al Madani;

a/k/a Sa’idi al Madani al Ghazi Mustfa al Tayyib; a/k/a Abu Fadl; a/k/a Abu Fadil; a/k/a Abu

Fadil al Makki; a/k/a Abu Amjed; a/k/a Abu Mahdi; a/k/a Abu Khalifah al Omani)” “Jamal

Ahmad Mohamed al Fadl,” “Mamdouh Mahmoud Salim (a/k/a Abu Hajer al Iraqi),” and “ Abu

Ubaidah al Banshiri (a/k/a Ali Amin al Rashidi).” Dubai Islamic Bank objects to this request as

vague, ambiguous, unduly burdensome, and uncertain in its use of “any account maintained by

or for the benefit of,” and “during the relevant time period.”

       Subject to and without waiving the foregoing Specific Objections and General Objections,

Dubai Islamic Bank will produce non-privileged Dubai Islamic Bank documents, if any exist,

sufficient to set forth account opening policies, practices and procedures at Dubai Islamic Bank

from January 1, 1992 to September 11, 2001; and Dubai Islamic Bank will search in the

accountholder field in its electronic account record keeping system using the search terms

“Osama bin Laden,” “Mustafa Ahmed al Hisawi,” “Shaykh Sa’id,” “Mustafa Muhammed

Ahmed,” “Ali Abdul Aziz Ali,” “Ammar al Baluchi,” “Khalid al Mihdhar,” “Majed Moqed,”

“Nawaf al Hamzi,” “Salem al Hamzi,” “Hani Hanjour,” “Satam al Suqami,” “Waleed al Shehri,”

“Wail al Shehri,” “Mohamed Atta,” “Abdulaziz al Omari,” “Marwan al Shehhi,” “Fayez

Banihammad,” “Ahmed al Ghamdi,” “Hamza al Ghamdi,” “Mohand al Shehri,” “Saeed al

Ghamdi,” “Ahmad al Haznawi,” “Ahmed al Nami,” “Ziad Jarrah,” the Request 10 Search Terms,

“Wadi al Aqiq Company, Ltd.,” “Al Hijrah Construction and Development, Ltd.,” “Taba

Investment Company, Ltd.,” “Al Timar al Mubarikah,” “Gum Arabic Company,” “Bin Ladin



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International,” “Al Qudarat Transport Company,” and “Blessed Fruits Company” to determine

whether any account has existed in those names and, if so, Dubai Islamic Bank will produce for

that account non-privileged account opening and closing documents, if any exist, from January 1,

1992 to September 11, 2001, provided that the search for such documents does not yield a

voluminous number of documents for multiple persons or entities with names containing a

search term (in which case Dubai Islamic Bank will be willing to meet and confer with Plaintiffs)

or documents pertaining solely to persons or entities who have not been affiliated with al Qaida.


REQUEST NO. 70

          Please provide all DIB documents governing, describing, detailing, setting forth, or

otherwise relating to DIB’s customer acceptance policies, practices, and procedures, including

without limitation, all documents that describe DIB’s policies, practices, and procedures

regarding the types of customers that are likely to pose a higher than average risk.


RESPONSE TO REQUEST NO. 70

          Dubai Islamic Bank objects to this request as overly broad, unduly burdensome, and

seeking information not relevant to a claim or defense of any party on the grounds that it is not

reasonably limited in temporal scope. Dubai Islamic Bank objects to this request as vague,

ambiguous, overly broad, unduly burdensome, and seeking information not relevant to a claim or

defense of any party in its use of “otherwise relating to … policies, practices, procedures, or

programs.” Dubai Islamic Bank objects to this requests as vague and ambiguous in its use of

“risk.”

          Subject to and without waiving the foregoing Specific Objections and General Objections,

Dubai Islamic Bank will produce non-privileged documents, if any exist, sufficient to set forth



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Dubai Islamic Bank’s customer acceptance policies, practices, and procedures from January 1,

1992 to September 11, 2001.


REQUEST NO. 71

       Please provide all documents governing, describing, detailing, setting forth, or otherwise

relating to the training of DIB Personnel regarding:

       a.      ML/CFT policies, practices, procedures, or controls;

       b.      Know-Your-Customer or Customer Identification policies, practices, procedures,

               or controls;

       c.      Investigating or filing suspicious activity or transaction reports;

       d.      Investigating Politically Exposed Persons;

       e.      Compliance with any laws, rules or regulations concerning money laundering,

               terrorist financing, suspicious activity or Politically Exposed Persons, including

               but not limited to the certification of any DIB employee as having knowledge,

               skills, expertise or education concerning the enforcement of or compliance with

               any laws, rules, regulations, policies, practices, or procedures related to anti-

               money laundering, anti-terrorist financing, suspicious activity or Politically

               Exposed Persons.


RESPONSE TO REQUEST NO. 71

       Dubai Islamic Bank objects to this request as overly broad, unduly burdensome, and

seeking information not relevant to a claim or defense of any party on the grounds that it is not

reasonably limited in temporal scope. Dubai Islamic Bank objects to this request as vague,

ambiguous, overly broad, unduly burdensome, and seeking information not relevant to a claim or



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defense of any party. Dubai Islamic Bank objects to this request as vague and ambiguous in its

use of “suspicious activity.”

       Subject to and without waiving the foregoing Specific Objections and General Objections,

Dubai Islamic Bank will produce non-privileged documents, if any exist, sufficient to show each

training program concerning anti-money laundering or combating the financing of terrorism

policies, practices, procedures, or controls, Know-Your-Customer policies, practices, procedures,

or controls, investigating or filing suspicious activity or transaction reports, and compliance with

any laws, rules or regulations concerning money laundering, terrorist financing, or suspicious

activity reporting from January 1, 1992 to September 11, 2001.


REQUEST NO. 72

       Please provide all documents governing, describing, detailing, setting forth, or otherwise

relating to any software or internet-based application that DIB has used, currently uses, or has

investigated for use, for the detection, monitoring, or investigation of money laundering, terrorist

financing, suspicious activity, Politically Exposed Persons, or compliance with any laws, rules or

regulations concerning money laundering, terrorist financing, suspicious activity, or Politically

Exposed Persons.


RESPONSE TO REQUEST NO. 72

       Dubai Islamic Bank objects to this request as overly broad, unduly burdensome, and

seeking information not relevant to a claim or defense of any party on the grounds that it is not

reasonably limited in temporal scope. Dubai Islamic Bank objects to this request as vague,

ambiguous, overly broad, unduly burdensome, and seeking information not relevant to a claim or

defense of any party. Dubai Islamic Bank objects to this request as vague and ambiguous in its

use of “or otherwise relating to,” “investigated for use,” and “suspicious activity.”

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       Subject to and without waiving the foregoing Specific Objections and General Objections,

Dubai Islamic Bank will produce non-privileged documents, if any exist, sufficient to identify

and describe any software or internet-based program that Dubai Islamic Bank has used for the

detection, monitoring or investigation of money laundering, terrorist financing, suspicious

account activity reporting, or compliance with any applicable laws concerning money laundering,

terrorist financing, or suspicious activity account reporting from January 1, 1992 to September

11, 2001.


REQUEST NO. 73

       Please provide all documents governing, describing, detailing, setting forth, or otherwise

relating to DIB’s policies, practices, procedures and controls regarding DIB’s compliance with

Suspicious Transaction Reports (“STRs”) or Suspicious Activity Reports (“SARs”) requirements,

including without limitation:

       a.      All documents relating to the roles and responsibilities of DIB Personnel for the

               filing of STRs or SARs; and

       b.      All documents detailing or describing the policies and procedural guidelines for

               determining whether or not to file a SAR or STR.


RESPONSE TO REQUEST NO. 73

       Dubai Islamic Bank objects to this request as overly broad, unduly burdensome, and

seeking information not relevant to a claim or defense of any party on the grounds that it is not

reasonably limited in temporal scope. Dubai Islamic Bank objects to this request as vague,

ambiguous, overly broad, unduly burdensome, and seeking information not relevant to a claim or

defense of any party. Dubai Islamic Bank objects to this request as vague and ambiguous in its



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use of “otherwise relating to DIB’s policies, practices, procedures, and controls” and “all

documents relating to the roles and responsibilities.”

       Subject to and without waiving the foregoing Specific Objections and General Objections,

Dubai Islamic Bank will produce non-privileged documents, if any exist, sufficient to show

Dubai Islamic Bank’s policies and procedures for the filing of suspicious transaction reports or

suspicious activity reports from January 1, 1992 to September 11, 2001.


REQUEST NO. 74

       Please provide all documents relating to any written or oral communication prepared by

DIB or DIB Personnel concerning good banking practices, best banking practices, or

recommended banking practices with respect to detection, prevention, or compliance with

regulations relating to money laundering, terrorist financing, or dealing with Politically Exposed

Persons.


RESPONSE TO REQUEST NO. 74

       Dubai Islamic Bank objects to this request as overly broad, unduly burdensome, and

seeking information not relevant to a claim or defense of any party on the grounds that it is not

reasonably limited in temporal scope. Dubai Islamic Bank objects to this request as vague and

ambiguous in its use of “good banking practices, best banking practices, or recommended

banking practices.” Dubai Islamic Bank objects to this request as overly broad and unduly

burdensome in seeking “all documents relating to any written or oral communication prepared by

DIB or DIB Personnel.” Dubai Islamic Bank objects to this request as seeking information not

relevant to a claim or defense of any party in its use of “Politically Exposed Persons.”

       Subject to and without waiving the foregoing Specific Objections and General Objections,

Dubai Islamic Bank will produce non-privileged Dubai Islamic Bank policies and procedures, if

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any exist, concerning compliance with regulations relating to money laundering or terrorist

financing from January 1, 1992 to September 11, 2001.


REQUEST NO. 75

       Please provide copies of any speeches, statements, or presentations regarding money

laundering or terrorist financing, given by DIB or DIB Personnel, at any banking organization

conference, or other conference concerning, wholly or in part, any issues related to anti-money

laundering, terrorist financing, Know-Your-Customer practices, suspicious activity or transaction

reporting, or Politically Exposed Persons.


RESPONSE TO REQUEST NO. 75

       Dubai Islamic Bank objects to this request as overly broad, unduly burdensome, and

seeking information not relevant to a claim or defense of any party on the grounds that it is not

reasonably limited in temporal scope. Dubai Islamic Bank objects to this request as overly broad,

unduly burdensome, and seeking information not relevant to a claim or defense of any party.

Dubai Islamic Bank objects to this request as vague and ambiguous in its use of “statements.”

       Subject to and without waiving the foregoing Specific Objections and General Objections,

Dubai Islamic Bank will produce a non-privileged copy of each speech or presentation, if any

exists, given by Dubai Islamic Bank at any conference concerning anti-money laundering,

terrorist financing, Know-Your-Customer practices, or suspicious activity or transaction

reporting from January 1, 1992 to September 11, 2001.



REQUEST NO. 76

       Please provide all documents relating to any written or oral communication, including

memoranda, notes, and/or recommendations, concerning best practices discussed at any anti-

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money laundering, terrorist financing, and/or risk assessment conference sponsored or attended

by DIB or DIB Personnel.



RESPONSE TO REQUEST NO. 76

       Dubai Islamic Bank objects to this request as overly broad, unduly burdensome, and

seeking information not relevant to a claim or defense of any party on the grounds that it is not

reasonably limited in temporal scope. Dubai Islamic Bank objects to this request as vague,

ambiguous, uncertain, and seeking information not relevant to a claim or defense of any party in

its use of “concerning best practices discussed at any anti-money laundering, terrorist financing,

and/or risk assessment conference.”

       Subject to and without waiving the foregoing Specific Objections and General Objections,

Dubai Islamic Bank will produce non-privileged communications, if any exist, concerning anti-

money laundering best practices discussed at any anti-money laundering conference from

January 1, 1992 to September 11, 2001.


REQUEST NO. 77

       Please provide all documents relating to DIB’s internal controls concerning money

laundering, terrorist financing, Know-Your-Customer or Customer Identification policies,

practices, and procedures, suspicious activity or transactions, or Politically Exposed Persons.


RESPONSE TO REQUEST NO. 77

       Dubai Islamic Bank objects to this request as overly broad, unduly burdensome, and

seeking information not relevant to a claim or defense of any party on the grounds that it is not

reasonably limited in temporal scope. Dubai Islamic Bank objects to this request as seeking

information not relevant to a claim or defense of any party in its use of “Politically Exposed

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Persons.” Dubai Islamic Bank objects to this request as vague and ambiguous in its use of

“Customer Identification policies.” Dubai Islamic Bank further objects to this request as vague,

ambiguous, overly broad, unduly burdensome, and seeking information not relevant to a claim or

defense of any party in its use of “all documents relating to DIB’s internal controls.”

       Subject to and without waiving the foregoing Specific Objections and General Objections,

Dubai Islamic Bank will produce non-privileged documents, if any exist, propounding Dubai

Islamic Bank internal controls concerning money laundering, terrorist financing, Know-Your-

Customer policies, practices, and procedures, or suspicious activity or transactions reporting

from January 1, 1992 to September 11, 2001.


REQUEST NO. 78

       Please provide all documents relating to any internal audits, examinations, studies, or

investigations performed by DIB and/or DIB Personnel, concerning, in whole or in part, AML,

CFT, Know-Your-Customer/Customer Identification policies, practices, procedures, and controls,

suspicious activities or transactions, Politically Exposed Persons, or compliance with any laws,

rules, regulations, policies, practices, or procedures concerning AML/CFT, Know-Your-

Customer/Customer Identification, suspicious activity or transactions, and Politically Exposed

Persons.


RESPONSE TO REQUEST NO. 78

       Dubai Islamic Bank objects to this request as overly broad, unduly burdensome, and

seeking information not relevant to a claim or defense of any party on the grounds that it is not

reasonably limited in temporal scope. Dubai Islamic Bank objects to this request as overly broad,

unduly burdensome, and seeking information not relevant to a claim or defense of any party.



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Dubai Islamic Bank objects to this request as vague and ambiguous in its use of “Know-Your-

Customer/Customer Identification policies.”

       Subject to and without waiving the foregoing Specific Objections and General Objections,

Dubai Islamic Bank will produce non-privileged reports, if any exist, of internal audits,

examinations, studies, or investigations conducted by Dubai Islamic Bank of its (i) general

policies, practices, procedures, and controls concerning anti-money laundering, combating the

financing of terrorism, Know-Your-Customer, suspicious activity or transactions reporting, (ii)

anti-money laundering, combating the financing of terrorism, Know-Your-Customer, suspicious

activity or transactions reporting policies, practices, procedures, and controls concerning the

persons or entities with the names “Osama bin Laden,” “Mustafa Ahmed al Hisawi,” “Shaykh

Sa’id,” “Mustafa Muhammed Ahmed,” “Ali Abdul Aziz Ali,” “Ammar al Baluchi,” the names

listed on Attachments A and C of Plaintiffs’ requests, or the Request 10 Search Terms, or (iii)

compliance with any laws, rules, regulations, policies, practices, or procedures concerning anti-

money laundering, combating the financing of terrorism, Know-Your-Customer, or suspicious

activity or transactions reporting as they relate to the persons or entities with the names “Osama

bin Laden,” “Mustafa Ahmed al Hisawi,” “Shaykh Sa’id,” “Mustafa Muhammed Ahmed,” “Ali

Abdul Aziz Ali,” “Ammar al Baluchi,” the names listed on Attachments A and C of Plaintiffs’

requests, or the Request 10 Search Terms from January 1, 1992 to September 11, 2001, provided

that the search for such documents does not yield documents pertaining solely to persons or

entities who have not been affiliated with al Qaida.


REQUEST NO. 79

       Please provide all documents relating to any audits, examinations, studies, or

investigations performed by DIB or by any outside consultants, auditors, accountants or other


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parties employed or utilized by DIB, regarding any individual, department, or group of DIB

concerning, in whole or in part, AML, CFT, Know-Your-Customer/Customer Identification

policies, practices, procedures, and controls, suspicious activities or transactions, Politically

Exposed Persons, or compliance with any laws, rules, regulations, policies, practices, or

procedures concerning AML/CFT, Know-Your-Customer/Customer Identification, suspicious

activity or transactions, and Politically Exposed Persons. Such documents shall include, but are

not limited to, engagement letters or memoranda, scope of audit memoranda or correspondence,

studies, reports, presentations, proposals, notes or minutes of meeting, advice, recommendation,

analysis, or any other communications and the results thereof.


RESPONSE TO REQUEST NO. 79

        Dubai Islamic Bank objects to this request as overly broad, unduly burdensome, and

seeking information not relevant to a claim or defense of any party on the grounds that it is not

reasonably limited in temporal scope. Dubai Islamic Bank objects to this request as overly broad,

unduly burdensome, and seeking information not relevant to a claim or defense of any party.

Dubai Islamic Bank objects to this request as vague and ambiguous in its use of “Know-Your-

Customer/Customer Identification,” and “regarding any individual, department, or group of

DIB.”

        Subject to and without waiving the foregoing Specific Objections and General Objections,

Dubai Islamic Bank will produce non-privileged reports, if any exist, of internal audits,

examinations, studies, or investigations conducted by Dubai Islamic Bank or by any outside

consultants, auditors, accountants or other parties employed or utilized by Dubai Islamic Bank of

its (i) general policies, practices, procedures, and controls concerning anti-money laundering,

combating the financing of terrorism, Know-Your-Customer, suspicious activity or transactions


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reporting; (ii) anti-money laundering, combating the financing of terrorism, Know-Your-

Customer, suspicious activity or transactions reporting policies, practices, procedures, and

controls concerning the persons or entities with the names “Osama bin Laden,” “Mustafa Ahmed

al Hisawi,” “Shaykh Sa’id,” “Mustafa Muhammed Ahmed,” “Ali Abdul Aziz Ali,” “Ammar al

Baluchi,” the names listed on Attachments A and C of Plaintiffs’ requests, or the Request 10

Search Terms; or (iii) compliance with any laws, rules, regulations, policies, practices, or

procedures concerning anti-money laundering, combating the financing of terrorism, Know-

Your-Customer, or suspicious activity or transactions reporting as they relate to the persons or

entities with the names “Osama bin Laden,” “Mustafa Ahmed al Hisawi,” “Shaykh Sa’id,”

“Mustafa Muhammed Ahmed,” “Ali Abdul Aziz Ali,” “Ammar al Baluchi,” the names listed on

Attachments A and C of Plaintiffs’ requests, or the Request 10 Search Terms from January 1,

1992 to September 11, 2001, provided that the search for such documents does not yield

documents pertaining solely to persons or entities who have not been affiliated with al Qaida.


REQUEST NO. 80

       Please provide all documents relating to any external or independent audits, examinations,

studies, or investigations of DIB which refer or relate to compliance with bank secrecy rules and

regulations, Know-Your-Customer rules, suspicious activity or transaction reporting, money

laundering, terrorist financing, or investigations of DIB by any agency of Dubai, the United Arab

Emirates, the United States or any other foreign government, including but not limited to the U.S.

Office of the Comptroller of the Currency and the U.S. Financial Crimes Enforcement Network.


RESPONSE TO REQUEST NO. 80

       Dubai Islamic Bank objects to this request as overly broad, unduly burdensome, and

seeking information not relevant to a claim or defense of any party on the grounds that it is not

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reasonably limited in temporal scope. Dubai Islamic Bank objects to this request as overly broad,

unduly burdensome, and seeking information not relevant to a claim or defense of any party.

Dubai Islamic Bank objects to this request as vague and ambiguous in its use of “refer or relate

to compliance with … money laundering, terrorist financing, or investigations of DIB by any

agency of Dubai, the United Arab Emirates, the United States or any other foreign government,

including but not limited to the U.S. Office of the Comptroller of the Currency and the U.S.

Financial Crimes Enforcement Network.”

       Subject to and without waiving the foregoing Specific Objections and General Objections,

Dubai Islamic Bank will produce non-privileged reports, if any exist, of internal audits,

examinations, studies, or investigations conducted by any agency of Dubai, the United Arab

Emirates, the United States or any other foreign government of Dubai Islamic Bank’s (i) general

policies, practices, procedures, and controls concerning anti-money laundering, combating the

financing of terrorism, Know-Your-Customer, suspicious activity or transactions reporting; (ii)

anti-money laundering, combating the financing of terrorism, Know-Your-Customer, suspicious

activity or transactions reporting policies, practices, procedures, and controls concerning the

persons or entities with the names “Osama bin Laden,” “Mustafa Ahmed al Hisawi,” “Shaykh

Sa’id,” “Mustafa Muhammed Ahmed,” “Ali Abdul Aziz Ali,” “Ammar al Baluchi,” the names

listed on Attachments A and C of Plaintiffs’ requests, or the Request 10 Search Terms; or (iii)

compliance with any laws, rules, regulations, policies, practices, or procedures concerning anti-

money laundering, combating the financing of terrorism, Know-Your-Customer, or suspicious

activity or transactions reporting as they relate to the persons or entities with the names “Osama

bin Laden,” “Mustafa Ahmed al Hisawi,” “Shaykh Sa’id,” “Mustafa Muhammed Ahmed,” “Ali

Abdul Aziz Ali,” “Ammar al Baluchi,” the names listed on Attachments A and C of Plaintiffs’



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requests, or the Request 10 Search Terms from January 1, 1992 to September 11, 2001, provided

that the search for such documents does not yield documents pertaining solely to persons or

entities who have not been affiliated with al Qaida.


REQUEST NO. 81

       Please provide all documents relating to any external or independent evaluation of DIB’s

AML/CFT compliance program, including:

       a.      Copies of any such evaluations;

       b.      The policies, practices, procedures, and controls for performing, handling, and

               responding to or implementing the recommendations of such evaluations; and

       c.      Documents comprising, describing, or setting forth any actions taken to respond

               to recommendations made in audit reports evaluating the effectiveness of DIB’s

               AML/CFT program.


RESPONSE TO REQUEST NO. 81

       Dubai Islamic Bank objects to this request as overly broad, unduly burdensome, and

seeking information not relevant to a claim or defense of any party on the grounds that it is not

reasonably limited in temporal scope. Dubai Islamic Bank objects to this request as overly broad,

unduly burdensome, and seeking information not relevant to a claim or defense of any party.

Dubai Islamic Bank objects to this request as vague and ambiguous in its use of “all documents

relating to any external or independent evaluation of DIB’s AML/CFT program,” and

“documents comprising any actions taken to respond to recommendations made in audit reports

evaluating the effectiveness of DIB’s AML/CFT program.”

       Subject to and without waiving the foregoing Specific Objections and General Objections,

Dubai Islamic Bank will produce non-privileged (i) copies of any external or independent

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evaluation of Dubai Islamic Bank’s general policies, practices, procedures, and controls, if any

exist, concerning anti-money laundering or combating the financing of terrorism; (ii) documents,

if any exist, propounding the policies, practices, procedures, and controls for performing,

handling, and implementing any such evaluation’s recommendations concerning the persons or

entities with the names “Osama bin Laden,” “Mustafa Ahmed al Hisawi,” “Shaykh Sa’id,”

“Mustafa Muhammed Ahmed,” “Ali Abdul Aziz Ali,” “Ammar al Baluchi,” the names listed on

Attachments A and C of Plaintiffs’ requests, or the Request 10 Search Terms; and (iii)

documents, if any exist, describing or setting forth any actions taken by Dubai Islamic Bank to

respond to any such evaluation’s recommendation concerning the persons or entities with the

names “Osama bin Laden,” “Mustafa Ahmed al Hisawi,” “Shaykh Sa’id,” “Mustafa Muhammed

Ahmed,” “Ali Abdul Aziz Ali,” “Ammar al Baluchi,” the names listed on Attachments A and C

of Plaintiffs’ requests, or the Request 10 Search Terms from January 1, 1992 to September 11,

2001, provided that the search for such documents does not yield documents pertaining solely to

persons or entities who have not been affiliated with al Qaida.


REQUEST NO. 82

       For any department, committee, or group at DIB responsible for opening, maintaining,

and managing customer accounts at DIB (“Account Representatives”), please provide the

following:

       a.      All documents identifying such department, committee, or group, the

               responsibilities and duties of the department, committee, or group, and the names

               of DIB Personnel within the department, committee, or group, including their title,

               tenure, and responsibilities;




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       b.     All documents detailing or describing the policies and procedural guidelines for

              the management and maintenance of customer accounts by Account

              Representatives;

       c.     All documents relating to training of Account Representatives;

       d.     All documents relating to all procedures and protocols used to ensure the

              authenticity of client correspondence to officers such as signature verifications;

       e.     Copies of all Information Technology (“IT”) protocols used by Account

              Representatives to assist them with the management and maintenance of customer

              accounts;

       f.     All documents detailing or describing DIB policies, practices, procedures, or

              controls used to monitor compliance with the Account Representative filing

              procedures; and

       g.     Copies of any “Corporate Code of Conduct” guidelines that apply to Account

              Representatives.


RESPONSE TO REQUEST NO. 82

       Dubai Islamic Bank objects to this request as overly broad, unduly burdensome, and

seeking information not relevant to a claim or defense of any party on the grounds that it is not

reasonably limited in temporal scope. Dubai Islamic Bank objects to this request as overly broad,

unduly burdensome, and seeking information not relevant to a claim or defense of any party.

Dubai Islamic Bank objects to this request as vague and ambiguous in its use of “used to ensure

the authenticity of client correspondence to officers such as signature verifications,” “Account

Representative filing procedures,” “managing,” and “IT protocols.”




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       Subject to and without waiving the foregoing Specific Objections and General Objections,

Dubai Islamic Bank will produce non-privileged Dubai Islamic Bank documents, if any exist,

governing, describing, detailing, setting forth, or otherwise propounding account opening

policies, practices and procedures at Dubai Islamic Bank from January 1, 1992 to September 11,

2001; and Dubai Islamic Bank will search in the accountholder field in its electronic account

record keeping system using the search terms “Osama bin Laden,” “Mustafa Ahmed al Hisawi,”

“Shaykh Sa’id,” “Mustafa Muhammed Ahmed,” “Ali Abdul Aziz Ali,” “Ammar al Baluchi,”

“Khalid al Mihdhar,” “Majed Moqed,” “Nawaf al Hamzi,” “Salem al Hamzi,” “Hani Hanjour,”

“Satam al Suqami,” “Waleed al Shehri,” “Wail al Shehri,” “Mohamed Atta,” “Abdulaziz al

Omari,” “Marwan al Shehhi,” “Fayez Banihammad,” “Ahmed al Ghamdi,” “Hamza al Ghamdi,”

“Mohand al Shehri,” “Saeed al Ghamdi,” “Ahmad al Haznawi,” “Ahmed al Nami,” “Ziad

Jarrah,” the Request 10 Search Terms, “Wadi al Aqiq Company, Ltd.,” “Al Hijrah Construction

and Development, Ltd.,” “Taba Investment Company, Ltd.,” “Al Timar al Mubarikah,” “Gum

Arabic Company,” “Bin Ladin International,” “Al Qudarat Transport Company,” and “Blessed

Fruits Company” to determine whether any account has existed in those names and, if so, Dubai

Islamic Bank will produce for that account non-privileged account opening and closing

documents, if any exist, from January 1, 1992 to September 11, 2001, provided that the search

for such documents does not yield a voluminous number of documents for multiple persons or

entities with names containing a search term (in which case Dubai Islamic Bank will be willing

to meet and confer with Plaintiffs) or documents pertaining solely to persons or entities who

have not been affiliated with al Qaida. Dubai Islamic Bank will also produce non-privileged

documents, if any exist, sufficient to set forth Dubai Islamic Bank’s general policies and

procedures for the management and maintenance of customer accounts; sufficient to set forth any



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training program concerning account opening policies, practices and procedures at Dubai Islamic

Bank; and sufficient to set forth Dubai Islamic Bank’s formal document retention policy and

corporate code of conduct from January 1, 1992 to September 11, 2001.


REQUEST NO. 83

       For any department, committee, or group at DIB responsible for ensuring DIB’s

compliance with applicable laws, rules, regulations, policies, practices, or procedures concerning

AML/CFT, suspicious activity or transactions, or Politically Exposed Persons (“DIB Compliance

Personnel”), please provide the following:

       a.      All documents identifying such department, committee, or group, the

               responsibilities and duties of the department, committee, or group, and the names

               of DIB Personnel within the department, committee, or group, including their title,

               tenure, and responsibilities;

       b.      All documents detailing or describing the policies and procedural guidelines for

               ensuring DIB’s compliance with applicable laws, rules, regulations, policies,

               practices, or procedures concerning AML/CFT, suspicious activity or transactions,

               or Politically Exposed Persons;

       c.      All documents relating to training of DIB Compliance Personnel;

       d.      All documents, including copies of forms, used by DIB Compliance Personnel to

               report on DIB’s compliance with applicable laws, rules, regulations, policies,

               practices, or procedures concerning AML/CFT, suspicious activity or transactions,

               or Politically Exposed Persons;

       e.      Copies of all IT protocols used by DIB Compliance Personnel to assist them in

               ensuring DIB’s compliance with applicable laws, rules, regulations, policies,


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               practices, or procedures concerning AML/CFT, suspicious activity or transactions,

               or Politically Exposed Persons; and

       f.      Copies of any “Corporate Code of Conduct” guidelines that apply to DIB

               Compliance Personnel.


RESPONSE TO REQUEST NO. 83

       Dubai Islamic Bank objects to this request as overly broad, unduly burdensome, and

seeking information not relevant to a claim or defense of any party on the grounds that it is not

reasonably limited in temporal scope. Dubai Islamic Bank objects to this request as overly broad,

unduly burdensome, and seeking information not relevant to a claim or defense of any party.

Dubai Islamic Bank further objects to this request as vague and ambiguous in its use of “IT

protocols.”

       Subject to and without waiving the foregoing Specific Objections and General Objections,

Dubai Islamic Bank will produce non-privileged documents, if any exist, sufficient to identify

the Dubai Islamic Bank department, committee, or group with the primary responsibility for

ensuring Dubai Islamic Bank’s compliance with applicable laws, rules, regulations, policies,

practices, or procedures concerning anti-money laundering, combating the financing of terrorism,

or suspicious activity or transactions reporting; sufficient to set forth Dubai Islamic Bank

policies and procedures for ensuring Dubai Islamic Bank’s compliance with applicable laws,

rules, regulations, policies, practices, or procedures concerning anti-money laundering,

combating the financing of terrorism, or suspicious activity or transactions reporting; sufficient

to identify formal training programs for ensuring Dubai Islamic Bank’s compliance with

regulations concerning anti-money laundering, combating the financing of terrorism, or

suspicious activity or transactions reporting; and sufficient to set forth Dubai Islamic Bank’s


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formal document retention policy and corporate code of conduct from January 1, 1992 to

September 11, 2001. Dubai Islamic Bank will also produce a non-privileged copy of each form,

if any exists, used to report on Dubai Islamic Bank’s compliance with applicable laws, rules,

regulations, policies, practices, or procedures concerning anti-money laundering, combating the

financing of terrorism, or suspicious activity or transactions from January 1, 1992 to September

11, 2001.


REQUEST NO. 84

       For any department, committee, or group at DIB responsible for monitoring, reviewing,

and/or investigating account activity, either in whole or in part, for purposes of compliance with

any laws, rules, regulations, policies, practices, or procedures related to AML/CFT, suspicious

activity or transactions, or Politically Exposed Persons (“DIB Investigative Personnel”), please

provide the following:

       a.      All documents identifying such department, committee, or group, the

               responsibilities and duties of the department, committee, or group, and the names

               of DIB Personnel within the department, committee, or group, including their title,

               tenure, and responsibilities;

       b.      All documents detailing or describing the policies and procedural guidelines for

               monitoring, reviewing and investigating account and transaction activity;

       c.      All documents relating to training of DIB Investigative Personnel;

       d.      All documents, including copies of forms, used by DIB Investigative Personnel to

               report on the monitoring, review, or investigation of accounts and transactions;

       e.      Copies of all IT protocols used by DIB Investigative Personnel to assist them in

               monitoring, reviewing, and investigating account and transaction activity;


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       f.      All documents detailing or describing the policies and procedural guidelines for

               reporting suspicious account or transaction activity;

       g.      Copies of any “Corporate Code of Conduct” guidelines that apply to DIB

               Investigative Personnel.


RESPONSE TO REQUEST NO. 84

       Dubai Islamic Bank objects to this request as overly broad, unduly burdensome, and

seeking information not relevant to a claim or defense of any party on the grounds that it is not

reasonably limited in temporal scope. Dubai Islamic Bank objects to this request as overly broad,

unduly burdensome, and seeking information not relevant to a claim or defense of any party.

Dubai Islamic Bank further objects to this request as vague and ambiguous in its use of “IT

protocols.”

       Subject to and without waiving the foregoing Specific Objections and General Objections,

Dubai Islamic Bank will produce non-privileged documents, if any exist, sufficient to identify

the Dubai Islamic Bank department, committee, or group with the primary responsibility for

monitoring, reviewing, or investigating account activity for purposes of compliance with any

laws, rules, regulations, policies, practices, or procedures related to anti-money laundering,

combating the financing of terrorism, or suspicious activity or transactions; sufficient to set forth

Dubai Islamic Bank policies and procedures for monitoring, reviewing and investigating account

and transaction activity; sufficient to identify formal training programs for monitoring, reviewing,

or investigating account activity for purposes of compliance with any laws, rules, regulations,

policies, practices, or procedures related to anti-money laundering, combating the financing of

terrorism, or suspicious activity or transactions; and sufficient to set forth Dubai Islamic Bank’s

formal document retention policy and corporate code of conduct from January 1, 1992 to


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September 11, 2001. Dubai Islamic Bank will also produce a non-privileged copy of each form,

if any exists, used to report on the monitoring, review, or investigation of accounts and

transactions for purposes of compliance with any laws, rules, regulations, policies, practices, or

procedures related to anti-money laundering, combating the financing of terrorism, or suspicious

activity or transactions from January 1, 1992 to September 11, 2001.


REQUEST NO. 85

       For any department, committee, or group at DIB responsible for performing internal audit

functions at DIB related, in whole or in part, to AML, CFT, Know-Your-Customer/Customer

Identification policies, practices, procedures, and controls, suspicious activities or transactions,

Politically Exposed Persons, or compliance with any laws, rules, regulations, policies, practices,

or procedures concerning AML/CFT, Know-Your-Customer/Customer Identification, suspicious

activity or transactions, and Politically Exposed Persons (“DIB Internal Audit Personnel”),

please provide the following:

       a.      All documents identifying such department, committee, or group, the

               responsibilities and duties of the department, committee, or group, and the names

               of DIB Personnel within the department, committee, or group, including their title,

               tenure, and responsibilities;

       b.      All documents detailing or describing the policies and procedural guidelines for

               monitoring, reviewing, investigating and auditing account activity by DIB

               Internal Audit Personnel;

       c.      All documents relating to training of DIB Internal Audit Personnel;

       d.      All documents, including copies of forms, used by DIB Internal Audit Personnel

               to report on the monitoring, reviewing, investigating, and auditing of accounts;


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       e.      Copies of all IT protocols used by DIB Internal Audit Personnel to assist them in

               monitoring, reviewing, investigating, and auditing accounts;

       f.      Copies of all audit plans for account activity;

       g.      All documents detailing or describing the policies and procedural guidelines for

               reporting suspicious activity or transaction; and

       h.      Copies of any “Corporate Code of Conduct” guidelines that apply to DIB Internal

               Audit Personnel.


RESPONSE TO REQUEST NO. 85

       Dubai Islamic Bank objects to this request as overly broad, unduly burdensome, and

seeking information not relevant to a claim or defense of any party on the grounds that it is not

reasonably limited in temporal scope. Dubai Islamic Bank objects to this request as overly broad,

unduly burdensome, and seeking information not relevant to a claim or defense of any party.

Dubai Islamic Bank objects to this request as vague and ambiguous in its use of “Know-Your-

Customer/Customer Identification,” “policies and procedural guidelines for monitoring,

reviewing, investigating and auditing account activity by DIB Internal Audit Personnel,” “IT

protocols,” and “audit plans for account activity.”

       Subject to and without waiving the foregoing Specific Objections and General Objections,

Dubai Islamic Bank will produce non-privileged documents, if any exist, sufficient to identify

the Dubai Islamic Bank department with the primary responsibility for performing Dubai Islamic

Bank’s internal audit functions concerning policies, practices, procedures, and controls for anti-

money laundering, combating the financing of terrorism, Know-Your-Customer, or suspicious

activity or transactions reporting; sufficient to set forth Dubai Islamic Bank policies and

procedures for conducting internal audits of Dubai Islamic Bank’s compliance with any laws,


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rules, regulations, policies, practices, or procedures related to anti-money laundering, combating

the financing of terrorism, or suspicious activity or transactions; sufficient to identify formal

training programs for conducting internal audits of Dubai Islamic Bank’s compliance with any

laws, rules, regulations, policies, practices, or procedures related to anti-money laundering,

combating the financing of terrorism, or suspicious activity or transactions reporting; sufficient

to set forth Dubai Islamic Bank policies and procedures for suspicious activity or transactions

reporting; and sufficient to set forth Dubai Islamic Bank’s formal document retention policy and

corporate code of conduct from January 1, 1992 to September 11, 2001.


REQUEST NO. 86

       For any department, committee, or group at DIB responsible for tracking and/or

maintaining a database relating to designations of, and information about, individuals and entities

designated as terrorists or terror financiers (“DIB Designation Personnel”), please provide the

following:

       a.      All documents identifying such department, committee, or group, the

               responsibilities and duties of the department, committee, or group, and the names

               of DIB Personnel within the department, committee, or group, including their title,

               tenure, and responsibilities;

       b.      All documents detailing or describing how DIB tracks the designation of

               individuals or entities as Specially Designated Global Terrorists or otherwise,

               pursuant to the International Emergency Economic Powers Act by the United

               States Office of Foreign Asset Control, the United Nations and/or any other

               government or regulatory body;

       c.      All documents relating to training of DIB Designation Personnel;


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       d.      Copies of all IT protocols used by DIB Designation Personnel to assist them in

               tracking and/or maintaining information about individuals and entities designated

               as terrorists or terror financiers;

       e.      All documents detailing or describing any software programs used by DIB to

               monitor the designation of individuals or entities as Specially Designated Global

               Terrorists or otherwise, pursuant to the International Emergency Economic

               Powers Act by the United States Office of Foreign Asset Control, the United

               Nations and/or any other government or regulatory body;

       f.      Copies of all internal manuals, memoranda, reports or protocols detailing or

               describing the appropriate actions to be taken by DIB Personnel when examining

               whether any designated individual or entity maintains accounts at DIB, or is the

               recipient of funds from DIB; and

       g.      Copies of all internal manuals, memoranda, reports or protocols detailing or

               describing the appropriate actions to be taken by DIB Personnel if a DIB account

               has been opened and/or used by a designated terrorist individual or entity.


RESPONSE TO REQUEST NO. 86

       Dubai Islamic Bank objects to this request as overly broad, unduly burdensome, and

seeking information not relevant to a claim or defense of any party on the grounds that it is not

reasonably limited in temporal scope. Dubai Islamic Bank objects to this request as overly broad,

unduly burdensome, and seeking information not relevant to a claim or defense of any party.

Dubai Islamic Bank objects to this request as vague and ambiguous in its use of “designated as

terrorists or terror financiers,” “Specially Designated Global Terrorists or otherwise,” “IT

protocols,” and “is the recipient of funds from DIB.”


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       Subject to and without waiving the foregoing Specific Objections and General Objections,

Dubai Islamic Bank will produce non-privileged documents, if any exist, sufficient to identify

the Dubai Islamic Bank department, committee, or group with the primary responsibility for

tracking or maintaining a database relating to state or international designations of, and

information about, individuals and entities designated as terrorists or terror financiers; sufficient

to set forth how Dubai Islamic Bank tracks the state or international designations of individuals

or entities as terrorists or terror financiers; sufficient to identify formal training programs for

tracking or maintaining a database relating to state or international designations of, and

information about, individuals and entities designated as terrorists or terror financiers; and

sufficient to identify and describe any software programs used by Dubai Islamic Bank to monitor

state or international designations of individuals and entities designated as terrorists or terror

financiers from January 1, 1992 to September 11, 2001. Dubai Islamic Bank will also produce a

non-privileged copy of each internal manual, memorandum, report or protocol, if any exists,

detailing or describing actions to be taken if a Dubai Islamic Bank account has been opened or

used by a designated terrorist individual or entity from January 1, 1992 to September 11, 2001.


REQUEST NO. 87

       Please provide all documents governing, describing, detailing, or otherwise relating to the

relationship between DIB and the persons identified in Attachment D, including without

limitation, all documents relating to all positions those persons have held or currently hold within

DIB and their personnel files.


RESPONSE TO REQUEST NO. 87

       Dubai Islamic Bank objects to this request as overly broad, unduly burdensome, and

seeking information not relevant to a claim or defense of any party on the grounds that it is not

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reasonably limited in temporal scope. Dubai Islamic Bank objects to this request as overly broad,

unduly burdensome, and seeking information not relevant to a claim or defense of any party.

Dubai Islamic Bank objects to this request as vague, ambiguous, overly broad, unduly

burdensome, and seeking information not relevant to a claim or defense of any party in its use of

“otherwise relating to the relationship.”

       Subject to and without waiving the foregoing Specific Objections and General Objections,

for each individual listed on Attachment D to Plaintiffs’ requests, Dubai Islamic Bank will

produce non-privileged documents, if any exist, sufficient to show positions previously or

currently held from January 1, 1992 to September 11, 2001. Dubai Islamic Bank will also search

the files of the individuals listed on Attachment D to Plaintiffs’ requests for any document that

that Dubai Islamic Bank agreed to produce in response to any other of Plaintiffs’ requests and

will produce non-privileged documents, if any exist, located by such search from January 1,

1992 to September 11, 2001.


REQUEST NO. 88

       Please provide all documents relating to the persons identified in Attachment D and their

roles in the establishment, organization, funding, oversight, supervision, management, and/or

control over DIB’s operations, including without limitation, banking and financial transactions,

opening, maintenance and closing of accounts, regulatory and compliance matters, customer and

banking account records, AML, CFT, and KYC policies and procedures, government relations,

and/or any other facet of DIB’s operations.


RESPONSE TO REQUEST NO. 88

       Dubai Islamic Bank objects to this request as overly broad, unduly burdensome, and

seeking information not relevant to a claim or defense of any party on the grounds that it is not

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reasonably limited in temporal scope. Dubai Islamic Bank objects to this request as overly broad,

unduly burdensome, and seeking information not relevant to a claim or defense of any party.

Dubai Islamic Bank objects to this request as vague and ambiguous in its use of “establishment,

organization, funding, oversight, supervision, management, and/or control over DIB’s

operations.”

       Subject to and without waiving the foregoing Specific Objections and General Objections,

for each individual listed on Attachment D to Plaintiffs’ requests, Dubai Islamic Bank will

produce non-privileged documents, if any exist, sufficient to show positions previously or

currently held from January 1, 1992 to September 11, 2001. Dubai Islamic Bank will also search

the files of the individuals listed on Attachment D to Plaintiffs’ requests for any document that

that Dubai Islamic Bank agreed to produce in response to any other of Plaintiffs’ requests and

will produce non-privileged documents, if any exist, located by such search from January 1,

1992 to September 11, 2001.


REQUEST NO. 89

       Please provide any and all documents governing, describing, detailing, or otherwise

relating to the relationship between DIB and HAMAS (a/k/a Harakat al Muqawamat al

Islamiyyah; a/k/a Islamic Resistance Movement), including without limitation, the following

HAMAS-related entities: the International Islamic Charity Organization, the Nablus Zakat

Committee, the Fujairah Charity Organization, the Emirates Red Crescent, Human Appeal

International, and the Union of Good.


RESPONSE TO REQUEST NO. 89

       Dubai Islamic Bank objects to this request as overly broad, unduly burdensome, and

seeking information not relevant to a claim or defense of any party on the grounds that it is not

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reasonably limited in temporal scope. Dubai Islamic Bank objects to this request as overly broad,

unduly burdensome, and seeking information not relevant to a claim or defense of any party.

Dubai Islamic Bank objects to this request as vague and ambiguous in its use of “otherwise

relating to the relationship.”


REQUEST NO. 90

        Please provide any and all documents sent to, and/or received from HAMAS, including

without limitation, any of the following HAMAS-related entities: the International Islamic

Charity Organization, the Nablus Zakat Committee, the Fujairah Charity Organization, the

Emirates Red Crescent, Human Appeal International, and the Union of Good. Such documents

shall include, but are not limited to, all documents relating to the transfer of funds between DIB

and those entities.


RESPONSE TO REQUEST NO. 90

        Dubai Islamic Bank objects to this request as overly broad, unduly burdensome, and

seeking information not relevant to a claim or defense of any party on the grounds that it is not

reasonably limited in temporal scope. Dubai Islamic Bank objects to this request as overly broad,

unduly burdensome, and seeking information not relevant to a claim or defense of any party.

Dubai Islamic Bank objects to this request as vague and ambiguous in its use of “the transfer of

funds between DIB and those entities.”


REQUEST NO. 91

        Please provide any and all documents relating to DIB accounts established or held in the

name of, on behalf of and/or for the benefit of the International Islamic Charity Organization

(“IICO”), including but not limited to DIB Account No. 4032845. Such documents shall include,


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but are not limited to, correspondence, letters, memoranda, notes, and/or e-mails, that refer to,

relate to, or reflect communications between or among the IICO and DIB, documents detailing

the establishment of and/or closing of the account(s), Know-Your-Customer and/or other

customer due diligence reports, suspicious activity and/or transaction reports, monthly account

statements, annual account statements, account notices, deposits, withdrawals, deposit slips,

check stubs, cleared or canceled checks, cashier checks, money orders, debit/credit memos,

financial ledgers, journals, investment records, real estate records, records of assets, loan records,

audit work papers, audit reports, or wire transfers, and any documentation showing the source(s)

and/or destination(s) of any funds deposited into or withdrawn from those accounts.


RESPONSE TO REQUEST NO. 91

       Dubai Islamic Bank objects to this request as overly broad, unduly burdensome, and

seeking information not relevant to a claim or defense of any party on the grounds that it is not

reasonably limited in temporal scope. Dubai Islamic Bank objects to this request as overly broad,

unduly burdensome, and seeking information not relevant to a claim or defense of any party.

Dubai Islamic Bank objects to this request as vague, ambiguous, unduly burdensome, and

uncertain in its use of the terms “on behalf of and/or for the benefit of the International Islamic

Charity Organization (“IICO”).” Dubai Islamic Bank also objects to this request as vague and

ambiguous in its use of the terms “account notices,” “financial ledgers,” “journals,” “deposits,”

“withdrawals,” and “investment records.” Dubai Islamic Bank further objects to this request as

vague and ambiguous in its use of the term “debit/credit memos.”               Dubai Islamic Bank

understands that term to mean debit and credit entries on an account statement. Dubai Islamic

Bank also objects to this request as overly broad and unduly burdensome in seeking all “deposit

slips,” “check stubs,” “cleared or canceled checks,” “cashier checks,” and “money orders.”


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Dubai Islamic Bank objects to “any documentation showing the source(s) and/or destination(s)

of any funds deposited into or withdrawn from those accounts” as vague, ambiguous, overly

broad, and unduly burdensome.


REQUEST NO. 92

       Please provide any and all documents relating to DIB accounts established or held in the

name of, on behalf of and/or for the benefit of the Nablus Zakat Committee, including but not

limited to DIB Account No. 5295/939. Such documents shall include, but are not limited to,

correspondence, letters, memoranda, notes, and/or e-mails, that refer to, relate to, or reflect

communications between or among the Nablus Zakat Committee and DIB, documents detailing

the establishment of and/or closing of the account(s), Know-Your-Customer and/or other

customer due diligence reports, suspicious activity and/or transaction reports, monthly account

statements, annual account statements, account notices, deposits, withdrawals, deposit slips,

check stubs, cleared or canceled checks, cashier checks, money orders, debit/credit memos,

financial ledgers, journals, investment records, real estate records, records of assets, loan records,

audit work papers, audit reports, or wire transfers, and any documentation showing the source(s)

and/or destination(s) of any funds deposited into or withdrawn from those accounts.


RESPONSE TO REQUEST NO. 92

       Dubai Islamic Bank objects to this request as overly broad, unduly burdensome, and

seeking information not relevant to a claim or defense of any party on the grounds that it is not

reasonably limited in temporal scope. Dubai Islamic Bank objects to this request as overly broad,

unduly burdensome, and seeking information not relevant to a claim or defense of any party.

Dubai Islamic Bank objects to this request as vague, ambiguous, unduly burdensome, and

uncertain in its use of the terms “on behalf of and/or for the benefit of the Nablus Zakat

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Committee.” Dubai Islamic Bank also objects to this request as vague and ambiguous in its use

of the terms “account notices,” “financial ledgers,” “journals,” “deposits,” “withdrawals,” and

“investment records.”    Dubai Islamic Bank further objects to this request as vague and

ambiguous in its use of the term “debit/credit memos.” Dubai Islamic Bank understands that

term to mean debit and credit entries on an account statement. Dubai Islamic Bank also objects

to this request as overly broad and unduly burdensome in seeking all “deposit slips,” “check

stubs,” “cleared or canceled checks,” “cashier checks,” and “money orders.” Dubai Islamic

Bank objects to “any documentation showing the source(s) and/or destination(s) of any funds

deposited into or withdrawn from those accounts” as vague, ambiguous, overly broad, and

unduly burdensome.


REQUEST NO. 93

       Please provide any and all documents relating to DIB accounts established or held in the

name of, on behalf of and/or for the benefit of the Fujairah Charity Organization, including but

not limited to DIB Account Nos. 06520509045801 and 01609045852006. Such documents shall

include, but are not limited to, correspondence, letters, memoranda, notes, and/or e-mails, that

refer to, relate to, or reflect communications between or among the Fujairah Charity

Organization and DIB, documents detailing the establishment of and/or closing of the account(s),

Know-Your-Customer and/or other customer due diligence reports, suspicious activity and/or

transaction reports, monthly account statements, annual account statements, account notices,

deposits, withdrawals, deposit slips, check stubs, cleared or canceled checks, cashier checks,

money orders, debit/credit memos, financial ledgers, journals, investment records, real estate

records, records of assets, loan records, audit work papers, audit reports, or wire transfers, and




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any documentation showing the source(s) and/or destination(s) of any funds deposited into or

withdrawn from those accounts.


RESPONSE TO REQUEST NO. 93

       Dubai Islamic Bank objects to this request as overly broad, unduly burdensome, and

seeking information not relevant to a claim or defense of any party on the grounds that it is not

reasonably limited in temporal scope. Dubai Islamic Bank objects to this request as overly broad,

unduly burdensome, and seeking information not relevant to a claim or defense of any party.

Dubai Islamic Bank objects to this request as vague, ambiguous, unduly burdensome, and

uncertain in its use of the terms “on behalf of and/or for the benefit of the Fujairah Charity

Organization.” Dubai Islamic Bank also objects to this request as vague and ambiguous in its

use of the terms “account notices,” “financial ledgers,” “journals,” “deposits,” “withdrawals,”

and “investment records.” Dubai Islamic Bank further objects to this request as vague and

ambiguous in its use of the term “debit/credit memos.” Dubai Islamic Bank understands that

term to mean debit and credit entries on an account statement. Dubai Islamic Bank also objects

to this request as overly broad and unduly burdensome in seeking all “deposit slips,” “check

stubs,” “cleared or canceled checks,” “cashier checks,” and “money orders.” Dubai Islamic

Bank objects to “any documentation showing the source(s) and/or destination(s) of any funds

deposited into or withdrawn from those accounts” as vague, ambiguous, overly broad, and

unduly burdensome.


REQUEST NO. 94

       Please provide any and all documents relating to DIB accounts established or held in the

name of, on behalf of and/or for the benefit of the Emirates Red Crescent, including but not

limited to DIB Account No. 5346754. Such documents shall include, but are not limited to,

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correspondence, letters, memoranda, notes, and/or e-mails, that refer to, relate to, or reflect

communications between or among the Emirates Red Crescent and DIB, documents detailing the

establishment of and/or closing of the account(s), Know-Your-Customer and/or other customer

due diligence reports, suspicious activity and/or transaction reports, monthly account statements,

annual account statements, account notices, deposits, withdrawals, deposit slips, check stubs,

cleared or canceled checks, cashier checks, money orders, debit/credit memos, financial ledgers,

journals, investment records, real estate records, records of assets, loan records, audit work

papers, audit reports, or wire transfers, and any documentation showing the source(s) and/or

destination(s) of any funds deposited into or withdrawn from those accounts.


RESPONSE TO REQUEST NO. 94

       Dubai Islamic Bank objects to this request as overly broad, unduly burdensome, and

seeking information not relevant to a claim or defense of any party on the grounds that it is not

reasonably limited in temporal scope. Dubai Islamic Bank objects to this request as overly broad,

unduly burdensome, and seeking information not relevant to a claim or defense of any party.

Dubai Islamic Bank objects to this request as vague, ambiguous, unduly burdensome, and

uncertain in its use of the terms “on behalf of and/or for the benefit of the Emirates Red

Crescent.” Dubai Islamic Bank also objects to this request as vague and ambiguous in its use of

the terms “account notices,” “financial ledgers,” “journals,” “deposits,” “withdrawals,” and

“investment records.”    Dubai Islamic Bank further objects to this request as vague and

ambiguous in its use of the term “debit/credit memos.” Dubai Islamic Bank understands that

term to mean debit and credit entries on an account statement. Dubai Islamic Bank also objects

to this request as overly broad and unduly burdensome in seeking all “deposit slips,” “check

stubs,” “cleared or canceled checks,” “cashier checks,” and “money orders.” Dubai Islamic


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Bank objects to “any documentation showing the source(s) and/or destination(s) of any funds

deposited into or withdrawn from those accounts” as vague, ambiguous, overly broad, and

unduly burdensome.


REQUEST NO. 95

       Please provide any and all documents relating to DIB accounts established or held in the

name of, on behalf of and/or for the benefit of the Human Appeal International. Such documents

shall include, but are not limited to, correspondence, letters, memoranda, notes, and/or e-mails,

that refer to, relate to, or reflect communications between or among the Human Appeal

International and DIB, documents detailing the establishment of and/or closing of the account(s),

Know-Your-Customer and/or other customer due diligence reports, suspicious activity and/or

transaction reports, monthly account statements, annual account statements, account notices,

deposits, withdrawals, deposit slips, check stubs, cleared or canceled checks, cashier checks,

money orders, debit/credit memos, financial ledgers, journals, investment records, real estate

records, records of assets, loan records, audit work papers, audit reports, or wire transfers, and

any documentation showing the source(s) and/or destination(s) of any funds deposited into or

withdrawn from those accounts.


RESPONSE TO REQUEST NO. 95

       Dubai Islamic Bank objects to this request as overly broad, unduly burdensome, and

seeking information not relevant to a claim or defense of any party on the grounds that it is not

reasonably limited in temporal scope. Dubai Islamic Bank objects to this request as overly broad,

unduly burdensome, and seeking information not relevant to a claim or defense of any party.

Dubai Islamic Bank objects to this request as vague, ambiguous, unduly burdensome, and

uncertain in its use of the terms “on behalf of and/or for the benefit of the Human Appeal

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International.” Dubai Islamic Bank also objects to this request as vague and ambiguous in its use

of the terms “account notices,” “financial ledgers,” “journals,” “deposits,” “withdrawals,” and

“investment records.”     Dubai Islamic Bank further objects to this request as vague and

ambiguous in its use of the term “debit/credit memos.” Dubai Islamic Bank understands that

term to mean debit and credit entries on an account statement. Dubai Islamic Bank also objects

to this request as overly broad and unduly burdensome in seeking all “deposit slips,” “check

stubs,” “cleared or canceled checks,” “cashier checks,” and “money orders.” Dubai Islamic

Bank objects to “any documentation showing the source(s) and/or destination(s) of any funds

deposited into or withdrawn from those accounts” as vague, ambiguous, overly broad, and

unduly burdensome.


REQUEST NO. 96

       Please provide any and all documents relating to DIB accounts established or held in the

name of, on behalf of and/or for the benefit of the Union of Good. Such documents shall include,

but are not limited to, correspondence, letters, memoranda, notes, and/or e-mails, that refer to,

relate to, or reflect communications between or among the Union of Good and DIB, documents

detailing the establishment of and/or closing of the account(s), Know-Your-Customer and/or

other customer due diligence reports, suspicious activity and/or transaction reports, monthly

account statements, annual account statements, account notices, deposits, withdrawals, deposit

slips, check stubs, cleared or canceled checks, cashier checks, money orders, debit/credit memos,

financial ledgers, journals, investment records, real estate records, records of assets, loan records,

audit work papers, audit reports, or wire transfers, and any documentation showing the source(s)

and/or destination(s) of any funds deposited into or withdrawn from those accounts.




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RESPONSE TO REQUEST NO. 96

       Dubai Islamic Bank objects to this request as overly broad, unduly burdensome, and

seeking information not relevant to a claim or defense of any party on the grounds that it is not

reasonably limited in temporal scope. Dubai Islamic Bank objects to this request as overly broad,

unduly burdensome, and seeking information not relevant to a claim or defense of any party.

Dubai Islamic Bank objects to this request as vague, ambiguous, unduly burdensome, and

uncertain in its use of the terms “on behalf of and/or for the benefit of the Union of Good.”

Dubai Islamic Bank also objects to this request as vague and ambiguous in its use of the terms

“account notices,” “financial ledgers,” “journals,” “deposits,” “withdrawals,” and “investment

records.” Dubai Islamic Bank further objects to this request as vague and ambiguous in its use of

the term “debit/credit memos.” Dubai Islamic Bank understands that term to mean debit and

credit entries on an account statement. Dubai Islamic Bank also objects to this request as overly

broad and unduly burdensome in seeking all “deposit slips,” “check stubs,” “cleared or canceled

checks,” “cashier checks,” and “money orders.”          Dubai Islamic Bank objects to “any

documentation showing the source(s) and/or destination(s) of any funds deposited into or

withdrawn from those accounts” as vague, ambiguous, overly broad, and unduly burdensome.


REQUEST NO. 97

       Please provide any and all documents governing, describing, detailing, or otherwise

relating to the relationship between DIB and the Al Ihsan Charitable Society of Hebron.


RESPONSE TO REQUEST NO. 97

       Dubai Islamic Bank objects to this request as overly broad, unduly burdensome, and

seeking information not relevant to a claim or defense of any party on the grounds that it is not

reasonably limited in temporal scope. Dubai Islamic Bank objects to this request as overly broad,

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unduly burdensome, and seeking information not relevant to a claim or defense of any party.

Dubai Islamic Bank objects to this request as vague and ambiguous in its use of “otherwise

relating to the relationship between DIB and the Al Ihsan Charitable Society of Hebron.”


REQUEST NO. 98

       Please provide any and all documents sent to and/or received from the Al Ihsan

Charitable Society of Hebron.     Such documents shall include, but are not limited to, all

documents relating to the transfer of funds between DIB and the Al Ihsan Charitable Society.


RESPONSE TO REQUEST NO. 98

       Dubai Islamic Bank objects to this request as overly broad, unduly burdensome, and

seeking information not relevant to a claim or defense of any party on the grounds that it is not

reasonably limited in temporal scope. Dubai Islamic Bank objects to this request as overly broad,

unduly burdensome, and seeking information not relevant to a claim or defense of any party.

Dubai Islamic Bank objects to this request as vague and ambiguous in its use of “the transfer of

funds between DIB and the Al Ihsan Charitable Society.”


REQUEST NO. 99

       Please provide any and all documents relating to DIB accounts established or held in the

name of, on behalf of and/or for the benefit of the Al Ihsan Charitable Society of Hebron,

including but not limited to DIB Account Nos. 1-520-4581737, 1-520-4581737-01 and 1-520-

4581636-01. Such documents shall include, but are not limited to, correspondence, letters,

memoranda, notes, and/or e-mails, that refer to, relate to, or reflect communications between or

among the Al Ihsan Charitable Society and DIB, documents detailing the establishment of and/or

closing of the account(s), Know-Your-Customer and/or other customer due diligence reports,


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suspicious activity and/or transaction reports, monthly account statements, annual account

statements, account notices, deposits, withdrawals, deposit slips, check stubs, cleared or canceled

checks, cashier checks, money orders, debit/credit memos, financial ledgers, journals, investment

records, real estate records, records of assets, loan records, audit work papers, audit reports, or

wire transfers, and any documentation showing the source(s) and/or destination(s) of any funds

deposited into or withdrawn from those accounts.


RESPONSE TO REQUEST NO. 99

       Dubai Islamic Bank objects to this request as overly broad, unduly burdensome, and

seeking information not relevant to a claim or defense of any party on the grounds that it is not

reasonably limited in temporal scope. Dubai Islamic Bank objects to this request as overly broad,

unduly burdensome, and seeking information not relevant to a claim or defense of any party.

Dubai Islamic Bank objects to this request as vague, ambiguous, unduly burdensome, and

uncertain in its use of the terms “on behalf of and/or for the benefit of the Al Ihsan Charitable

Society of Hebron.” Dubai Islamic Bank also objects to this request as vague and ambiguous in

its use of the terms “account notices,” “financial ledgers,” “journals,” “deposits,” “withdrawals,”

and “investment records.” Dubai Islamic Bank further objects to this request as vague and

ambiguous in its use of the term “debit/credit memos.” Dubai Islamic Bank understands that

term to mean debit and credit entries on an account statement. Dubai Islamic Bank also objects

to this request as overly broad and unduly burdensome in seeking all “deposit slips,” “check

stubs,” “cleared or canceled checks,” “cashier checks,” and “money orders.” Dubai Islamic

Bank objects to “any documentation showing the source(s) and/or destination(s) of any funds

deposited into or withdrawn from those accounts” as vague, ambiguous, overly broad, and

unduly burdensome.


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REQUEST NO. 100

       Please provide any and all documents governing, describing, detailing, or otherwise

relating to the relationship between DIB and the Dar al Bir Society.


RESPONSE TO REQUEST NO. 100

       Dubai Islamic Bank objects to this request as overly broad, unduly burdensome, and

seeking information not relevant to a claim or defense of any party on the grounds that it is not

reasonably limited in temporal scope. Dubai Islamic Bank objects to this request as overly broad,

unduly burdensome, and seeking information not relevant to a claim or defense of any party.

Dubai Islamic Bank objects to this request as vague and ambiguous in its use of “otherwise

relating to the relationship between DIB and the Dar al Bir Society.”


REQUEST NO. 101

       Please provide any and all documents sent to and/or received from the Dar al Bir Society.

Such documents shall include, but are not limited to, all documents relating to the transfer of

funds between DIB and the Dar al Bir Society.


RESPONSE TO REQUEST NO. 101

       Dubai Islamic Bank objects to this request as overly broad, unduly burdensome, and

seeking information not relevant to a claim or defense of any party on the grounds that it is not

reasonably limited in temporal scope. Dubai Islamic Bank objects to this request as overly broad,

unduly burdensome, and seeking information not relevant to a claim or defense of any party.

Dubai Islamic Bank objects to this request as vague and ambiguous in its use of “to the transfer

of funds between DIB and the Dar al Bir Society.”




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REQUEST NO. 102

       Please provide any and all documents relating to DIB accounts established or held in the

name of, on behalf of and/or for the benefit of the Dar al Bir Society, including but not limited to

DIB Account Nos. 02 520 4053087 02, 03 520 4053087 03, 04 520 4053087 04, 06 520 405

3087 06, 01 520 4557271 01, 01 520 7260466 01, 01 520 4557298 01, 01 520 5003342 01, 02

520 5003342 02, 03 520 5003342 03, 07 520 5003342 07, and 01 520 5291798 01. Such

documents shall include, but are not limited to, correspondence, letters, memoranda, notes,

and/or e-mails, that refer to, relate to, or reflect communications between or among the Human

Appeal International and DIB, documents detailing the establishment of and/or closing of the

account(s), Know-Your-Customer and/or other customer due diligence reports, suspicious

activity and/or transaction reports, monthly account statements, annual account statements,

account notices, deposits, withdrawals, deposit slips, check stubs, cleared or canceled checks,

cashier checks, money orders, debit/credit memos, financial ledgers, journals, investment records,

real estate records, records of assets, loan records, audit work papers, audit reports, or wire

transfers, and any documentation showing the source(s) and/or destination(s) of any funds

deposited into or withdrawn from those accounts.


RESPONSE TO REQUEST NO. 102

       Dubai Islamic Bank objects to this request as overly broad, unduly burdensome, and

seeking information not relevant to a claim or defense of any party on the grounds that it is not

reasonably limited in temporal scope. Dubai Islamic Bank objects to this request as overly broad,

unduly burdensome, and seeking information not relevant to a claim or defense of any party.

Dubai Islamic Bank objects to this request as vague, ambiguous, unduly burdensome, and

uncertain in its use of the terms “on behalf of and/or for the benefit of the Dar al Bir Society.”


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Dubai Islamic Bank also objects to this request as vague and ambiguous in its use of the terms

“account notices,” “financial ledgers,” “journals,” “deposits,” “withdrawals,” and “investment

records.” Dubai Islamic Bank further objects to this request as vague and ambiguous in its use of

the term “debit/credit memos.” Dubai Islamic Bank understands that term to mean debit and

credit entries on an account statement. Dubai Islamic Bank also objects to this request as overly

broad and unduly burdensome in seeking all “deposit slips,” “check stubs,” “cleared or canceled

checks,” “cashier checks,” and “money orders.”          Dubai Islamic Bank objects to “any

documentation showing the source(s) and/or destination(s) of any funds deposited into or

withdrawn from those accounts” as vague, ambiguous, overly broad, and unduly burdensome.


REQUEST NO. 103

        Please provide any and all documents governing, describing, detailing, or otherwise

relating to the relationship between DIB and the Pak Kashmir Welfare Council.


RESPONSE TO REQUEST NO. 103

        Dubai Islamic Bank objects to this request as overly broad, unduly burdensome, and

seeking information not relevant to a claim or defense of any party on the grounds that it is not

reasonably limited in temporal scope. Dubai Islamic Bank objects to this request as overly broad,

unduly burdensome, and seeking information not relevant to a claim or defense of any party.

Dubai Islamic Bank objects to this request as vague and ambiguous in its use of “otherwise

relating to the relationship.”




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REQUEST NO. 104

       Please provide any and all documents sent to and/or received from the Pak Kashmir

Welfare Council. Such documents shall include, but are not limited to, all documents relating to

the transfer of funds between DIB and the Pak Kashmir Welfare Council.


RESPONSE TO REQUEST NO. 104

       Dubai Islamic Bank objects to this request as overly broad, unduly burdensome, and

seeking information not relevant to a claim or defense of any party on the grounds that it is not

reasonably limited in temporal scope. Dubai Islamic Bank objects to this request as overly broad,

unduly burdensome, and seeking information not relevant to a claim or defense of any party.

Dubai Islamic Bank objects to this request as vague and ambiguous in its use of “the transfer of

funds between DIB and the Pak Kashmir Welfare Council.”


REQUEST NO. 105

       Please provide any and all documents relating to all DIB accounts established or held in

the name of, on behalf of and/or for the benefit of the Pak Kashmir Welfare Council. Such

documents shall include, but are not limited to, correspondence, letters, memoranda, notes,

and/or e-mails, that refer to, relate to, or reflect communications between or among the Pak

Kashmir Welfare Council and DIB, documents detailing the establishment of and/or closing of

the account(s), Know-Your-Customer and/or other customer due diligence reports, suspicious

activity and/or transaction reports, account numbers, monthly account statements, annual account

statements, account notices, deposits, withdrawals, deposit slips, check stubs, cleared or canceled

checks, cashier checks, money orders, debit/credit memos, financial ledgers, journals, investment

records, real estate records, records of assets, loan records, audit work papers, audit reports, or



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wire transfers, and any documentation showing the source(s) and/or destination(s) of any funds

deposited into or withdrawn from those accounts.


RESPONSE TO REQUEST NO. 105

       Dubai Islamic Bank objects to this request as overly broad, unduly burdensome, and

seeking information not relevant to a claim or defense of any party on the grounds that it is not

reasonably limited in temporal scope. Dubai Islamic Bank objects to this request as overly broad,

unduly burdensome, and seeking information not relevant to a claim or defense of any party.

Dubai Islamic Bank objects to this request as vague, ambiguous, unduly burdensome, and

uncertain in its use of the terms “on behalf of and/or for the benefit of the Pak Kashmir Welfare

Council.” Dubai Islamic Bank also objects to this request as vague and ambiguous in its use of

the terms “account notices,” “financial ledgers,” “journals,” “deposits,” “withdrawals,” and

“investment records.”     Dubai Islamic Bank further objects to this request as vague and

ambiguous in its use of the term “debit/credit memos.” Dubai Islamic Bank understands that

term to mean debit and credit entries on an account statement. Dubai Islamic Bank also objects

to this request as overly broad and unduly burdensome in seeking all “deposit slips,” “check

stubs,” “cleared or canceled checks,” “cashier checks,” and “money orders.” Dubai Islamic

Bank objects to “any documentation showing the source(s) and/or destination(s) of any funds

deposited into or withdrawn from those accounts” as vague, ambiguous, overly broad, and

unduly burdensome.


REQUEST NO. 106

       Please provide all documents governing, describing, detailing, or otherwise relating to the

relationship between DIB and the banks identified in Attachment E, including without limitation,

all documents governing, describing, detailing, or otherwise relating to the due diligence policies,

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practices, procedures, and measures employed by DIB prior to entering into any relationship

with those banks (including reviewing and/or analyzing each bank’s AML, CFT, and KYC

policies, practices, and procedures), as well as all due diligence policies, practices, procedures,

and measures DIB continues to utilize during its on-going relationship with those banks

(including the continued review and/or analysis of each bank’s AML, CFT, and KYC policies,

practices, and procedures).


RESPONSE TO REQUEST NO. 106

       Dubai Islamic Bank objects to this request as overly broad, unduly burdensome, and

seeking information not relevant to a claim or defense of any party on the grounds that it is not

reasonably limited in temporal scope. Dubai Islamic Bank objects to this request as overly broad,

unduly burdensome, and seeking information not relevant to a claim or defense of any party.

Dubai Islamic Bank objects to this request as vague and ambiguous in its use of “otherwise

relating to,” and “any relationship with those banks,” and “its on-going relationship with those

banks.”

       Subject to and without waiving the foregoing Specific Objections and General Objections,

Dubai Islamic Bank will produce non-privileged documents, if any exist, sufficient to show any

relationship between Dubai Islamic Bank and Tadamon Islamic Bank or Al Shamal Bank; or

governing, describing, detailing, or otherwise propounding due diligence policies, practices,

procedures, and measures employed by Dubai Islamic Bank concerning any such relationship

from January 1, 1992 to September 11, 2001.




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REQUEST NO. 107

       Please provide all documents relating to any formal or informal record keeping and

document retention policies, practices, or procedures maintained by DIB, any DIB branch, or any

DIB subsidiary or affiliate, including without limitation:

       a.      All documents relating to DIB’s document retention policies, practices, or

               procedures for all account documents; and

       b.      All documents relating to DIB’s document retention policies, practices, or

               procedures concerning anti-money laundering, countering the financing of

               terrorism, bank secrecy compliance, suspicious activity or transaction reporting,

               cash or currency reporting, and fund transfer functions.


RESPONSE TO REQUEST NO. 107

       Dubai Islamic Bank objects to this request as overly broad, unduly burdensome, and

seeking information not relevant to a claim or defense of any party on the grounds that it is not

reasonably limited in temporal scope. Dubai Islamic Bank objects to this request as overly broad,

unduly burdensome, and seeking information not relevant to a claim or defense of any party.

       Subject to and without waiving the foregoing Specific Objections and General Objections,

Dubai Islamic Bank will produce non-privileged documents sufficient to set forth formal record

keeping and document retention policies, if any exist.


REQUEST NO. 108

       Please provide all documents relating to any formal or informal document destruction

policies, practices, or procedures maintained by DIB, any DIB branch, or any DIB subsidiary or

affiliate, including without limitation, descriptions of all documents destroyed by DIB.



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RESPONSE TO REQUEST NO. 108

       Dubai Islamic Bank objects to this request as overly broad, unduly burdensome, and

seeking information not relevant to a claim or defense of any party on the grounds that it is not

reasonably limited in temporal scope. Dubai Islamic Bank objects to this request as overly broad,

unduly burdensome, and seeking information not relevant to a claim or defense of any party.

       Subject to and without waiving the foregoing Specific Objections and General Objections,

Dubai Islamic Bank will produce non-privileged documents sufficient to set forth formal

document destruction policies, if any exist.




DATED: January 21, 2011                             Respectfully Submitted,


                                                    /s/ Steven T. Cottreau________
                                                    Steven T. Cottreau (admitted pro hac vice)
                                                    Robert G. Houck
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                                                    Counsel for Defendant Dubai Islamic Bank




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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

In re Terrorist Attacks on September 11, 2001                           03 mdl 1570 (GBD)

                                                                        Certificate of Service




This document relates to:
Burnett v. Al Baraka Investment & Devel. Corp., 03-cv-9849
Federal Insurance Co. v. Al Qaida, 03-cv-6978
O’Neill v. Al Baraka Investment & Devel. Corp., 04-cv-01923
Continental Casualty Co. v. Al Qaeda, 04-cv-05970
Cantor Fitzgerald & Co. v. Akida Bank Private Limited, 04-cv-07065
Euro Brokers Inc. v. Al Baraka Investment & Devel. Corp., 04-cv-07279
World Trade Center Properties LLC v. Al Baraka Investment & Devel. Corp., 04-cv-07280


I, Angela E. Stoner, hereby certify that I have this 21st day of January, 2011 caused to be served
a true and correct copy of the foregoing documents upon all parties who are filing users in the
above-captioned actions by sending the documents by electronic means, pursuant to Case
Management Order No. 2 and procedure 9 of the Court's procedures for documents that are not
filed through the ECF system.



                                                            _/s/ Angela E. Stoner____
                                                            Angela E. Stoner
